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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                            No. CR 10-1534 JB

EDWARD CHRISTY,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on: (i) the United States’ Sentencing Memorandum

and Recommendation, filed January 20, 2012 (Doc. 200)(“USA Sentencing Memorandum”); and

(ii) the Defendant’s Objections to Presentence Report, filed March 15, 2012 (Doc. 203-

1)(“Objections”). The Court held a sentencing hearing on May 23, 2012. The primary issues are:

(i) whether the Court should sustain Defendant Edward Christy’s objections to various factual

statements in the Re-Disclosed Presentence Investigation Report, disclosed February 8, 2012 (“Re-

Disclosed PSR”); (ii) whether a 2-level enhancement under U.S.S.G. § 2G1.3(b)(2) for the exercise

of undue influence over a minor to engage in prohibited sexual conduct is appropriate; (iii) whether

a 2-level enhancement under U.S.S.G. § 2G1.3(b)(4) for the commission of a sex act or sexual

contact is appropriate; (iv) whether a 4-level enhancement under U.S.S.G. § 2G2.2(b)(4) for

possession of an image that portrays sadistic or masochistic conduct is appropriate; (v) whether a

5-level enhancement under U.S.S.G. § 2G2.2(b)(5) for engaging in a pattern of activity involving

the sexual abuse or exploitation of a minor is appropriate; (vi) what amount, if any, in restitution

should the Court award to one of the individuals -- “Vicky” -- who appears in some child
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pornography photographs found in Christy’s possession; (vii) whether the Court should vary

downward to a sentence of 108-months imprisonment in light of the parties’ rule 11(c)(1)(c) plea

agreement; and (viii) whether the Court should impose a lifetime sentence of supervised release for

Christy. The Court will overrule many of Christy’s objections to the Re-Disclosed PSR on the basis

that: (i) the United States Probation Office (“USPO”) has corrected information in the Re-Disclosed

PSR to account for his objections; (ii) the parties reached a compromise at the sentencing hearing

regarding some of the statements Christy found objectionable; and (iii) there is sufficient evidence

to support a finding by a preponderance of the evidence that certain facts Christy finds objectionable

have occurred. Furthermore, Christy did not pursue many of his factual objections at the sentencing

hearing, and, rather than ruling on those objections, the Court will disregard certain facts he finds

objectionable when arriving at his sentence. The Court concludes that a 2-level enhancement under

U.S.S.G. § 2G1.3(b)(2) is appropriate, given that Christy has not presented evidence to rebut the

rebuttable presumption of undue influence that applies to this case. The Court finds that a 2-level

enhancement under U.S.S.G. § 2G1.3(b)(4) is appropriate, because Christy engaged in sexual

contact with Jane Doe -- a victim of the offense -- within the meaning of U.S.S.G. § 2G1.3(b)(4).

The Court concludes that a 4-level enhancement under U.S.S.G. § 2G2.2(b)(4) is not appropriate,

given that the child pornography image in question is not sadistic or masochistic. The Court

concludes that a 5-level enhancement under U.S.S.G. § 2G2.2(b)(5) is appropriate given that Christy

engaged in a pattern of activity involving the sexual abuse or exploitation of a minor. While the

Court concludes that no amount of restitution is appropriate for Vicky given the lack of causation

and lack of proof of her damages, the parties’ stipulation to $500.00 in restitution relieves Plaintiff

United States of America of the burden of proving that this restitution amount is appropriate. The

Court sentences Christy, as to Counts 1 and 2, to 108-months imprisonment and a lifetime term of

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supervised release, because that sentence best reflects the factors contained in 18 U.S.C. § 3553(a).

                                      FACTUAL BACKGROUND

       Christy “was born on June 8, 1952,” and his “father passed away in 1965 from emphysema.”

Re-Disclosed PSR ¶ 83, at 22. Christy “described his childhood as normal as his basic needs were

met, and absent of any abuse.” Re-Disclosed PSR ¶ 83, at 22. Christy related that his first sexual

experience was when “he was approximately 15 years old after receiving a call from a female friend

who asked him to come over to her house as her parents were out of town.” Re-Disclosed PSR ¶ 91,

at 24. Christy states that “he has never been a victim of sexual abuse.” Re-Disclosed PSR ¶ 91, at

24. Christy asserts “that he always becomes emotionally involved in” relationships, because “he

is a protector by nature.” Re-Disclosed PSR ¶ 92, at 24. Christy has been employed as an engineer

from approximately 1986 to 2009. See Re-Disclosed PSR ¶¶ 98-100, at 25. “[F]rom 1986 to 1992,

he was employed at Honeywell Incorporated in Albuquerque, New Mexico as an engineer . . . .”

Re-Disclosed PSR ¶ 100, at 25. “[F]rom 1996 to November of 2009, he was employed at EG&G

Technical Services in Albuquerque, New Mexico, as a senior engineer . . . .” Re-Disclosed PSR

¶ 98, at 25. Christy spent approximately six years “in the United States Army Reserve, being

honorably discharged in 1980.” Re-Disclosed PSR ¶ 101, at 26.

       “On November 8, 2009, Jane Doe’s (juvenile female) father allegedly made a report

regarding a missing juvenile, his daughter, to the Westminster Police Department in Westminster,

California.” Re-Disclosed PSR ¶ 10, at 7. “Jane Doe’s . . . father advised that when [he and his

wife] awoke on November 8, 2009, they found a note from Jane Doe . . . stating she had run away.”

Re-Disclosed PSR ¶ 10, at 7. “On November 8, 2009, Jane Doe’s . . . father returned to the

Westminster Police Department to report he had learned from a friend of Jane Doe . . . that Jane

Doe . . . had been in contact with an adult male on the internet.” Re-Disclosed PSR ¶ 10, at 7. After

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obtaining some nude photographs of Christy from Doe’s father, an officer with the Westminster

Police Department was able to locate an online profile for Christy for an account with which Doe

had been communicating. See Re-Disclosed PSR ¶ 11, at 7.

        Shortly afterwards, “an investigator for the Orange County District Attorney’s Office was

contacted to report she was investigating a missing juvenile whom she believed left the state with

an adult male.” Re-Disclosed PSR ¶ 12, at 7. Investigators obtained contact information for Doe

and Christy from Doe’s cellular telephone and electronic mail records. See Re-Disclosed PSR ¶ 12,

at 7. From a review of cellular telephone records, investigators learned that Christy and Doe had

traveled from California to Arizona, and then to Albuquerque, New Mexico. See Re-Disclosed PSR

¶ 13, at 8.

        “In the evening of November 9, 2009, the investigators in California contacted the Bernalillo

County Sheriff’s Office . . . in Albuquerque, New Mexico, requesting they respond to Mr. Christy’s

address to perform a welfare check in reference to a missing juvenile from Orange County,

California.” Re-Disclosed PSR ¶ 15, at 8. “Upon arriving at Mr. Christy’s residence, deputies

looked through a window, noticing what appeared to be a young female who matched the

description of the missing juvenile.” Re-Disclosed PSR ¶ 9, at 6. “During questioning, both Mr.

Christy and Jane Doe . . . admitted to having sexual intercourse on two separate occasions.” Re-

Disclosed PSR ¶ 9, at 6. “Mr. Christy stated he believed Jane Doe . . . to be 18 years old and had

asked her to send him naked photographs of herself, of which Mr. Christy received two.” Re-

Disclosed PSR ¶ 17, at 9. “Mr. Christy further stated that, on or about November 6, 2009, Jane

Doe . . . told him if she could not leave her home and stay with him, Jane Doe . . . was going to kill

herself.” Re-Disclosed PSR ¶ 18, at 9. “Jane Doe . . . mentioned that Mr. Christy insisted on using

a cover story in case they were caught, stating that Mr. Christy had rescued her from her abusive

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father.” Re-Disclosed PSR ¶ 21, at 10.

       “A subsequent search of Mr. Christy’s residence revealed multiple images of child

pornography and hundreds of chats involving minor children (9 to 15 years old), several of which

were sexual in nature.” Re-Disclosed PSR ¶ 9, at 6. On one computer in Christy’s possession,

officers found “310 possible child pornography images, including 32 possible images of Jane Doe.”

Re-Disclosed PSR ¶ 27, at 11. Officers also found “10 possible cartoon child pornography images;

4 images appearing to be Mr. Christy; and [images of] 112 underage girls in sexually suggestive

positions who were half-clothed, known to be child erotica.” Re-Disclosed PSR ¶ 27, at 11-12.

“One of the images found on the Hewlett Packard HDX laptop” in Christy’s possession “had an

image titled ‘JPEG_5796074.jpg.’ . . . which depicted an image of a young child with an adult penis

in her mouth.” Re-Disclosed PSR ¶ 27, at 12.

       The USPO relates:

       Deputies . . . located drawings made with crayon that appeared to have been made
       by a young child and [that] appeared to be addressed, in a child’s writing, stating “to
       Ed from Re Re.” A note was also located, which appeared to be made by a teenage
       girl, who stated she was upset with her parents for making plans to move to Nova
       Scotia. The note also stated the girl wanted to run away from her parents, and go
       camping with Mr. Christy again. Further investigation revealed that Mr. Christy was
       the Kung Fu instructor for this particular girl (14 or 15 years old at the time) for
       approximately three years in Tijeras, New Mexico. The information discovered
       correlates to a note found in Mr. Christy’s residence.

Re-Disclosed PSR ¶ 32, at 13. “During the investigation by the FBI, they learned several past

allegations were made [against Christy], including one in which Mr. Christy molested a young girl,

and one in which Mr. Christy was in the process of ‘grooming’1 two other girls.” Re-Disclosed PSR


       1
        “‘Grooming,’ is behavior aimed at gaining a child’s trust and desensitizing the child to
sexual acts.” United States v. Christy, No. 10-1534, 2010 WL 2977610, at *4 n.5 (D.N.M. June 28,
2010)(Browning, J.). Grooming can include behavior such as “giving a child gifts and being
emotionally available to a vulnerable child, such as a child in a single-parent home.” United States

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¶ 33, at 13.

        “The officers also uncovered hundreds of internet chats, including sexual conversations

between Mr. Christy and minors.” Re-Disclosed PSR ¶ 33, at 13. The USPO provides examples

of “only the most egregious” of the chats, including the following:

                In July 2009, Mr. Christy discussed sexual matters with a 12 year old, stating
        he was “not far away by plane.” During the same conversation, Mr. Christy admitted
        he had a ‘neighborhood girl’ as his “playmate,” claiming her grandfather didn’t
        know. Mr. Christy further admitted he liked younger than 12 and would go “9 to 10
        year olds.” In a chat from July 23, 2009, the Defendant discussed being “lovers”
        with his wife and daughter, if he had one. In this same chat, Mr. Christy discusses
        with someone that if he lived with her and her child, he (Mr. Christy) would [be] able
        to teach her baby, specifically stating “you have a fresh daughter.” In another, dated
        on August 23, 2009, Mr. Christy stated “I’d always thought when my daughter first
        fed from her mother that I would masturbate and put cum on her nipple so I could
        nourish my girl too.” He further states “I’d want us all to sleep in one bed with no
        barriers. Daddy’s cock should be pacifying to his kids. They should feel safe and
        secure and loved sucking him fall to sleep with his cock in their mouth.”
        Additionally, in a chat from August 24, 2009, the Defendant admitted he is “drawn
        to open sex in his own family,” and added that children who have sexual
        relationships in their own families are “more balanced than most.” Mr. Christy also
        acknowledged that “even though he is more drawn to girls, his sons would know him
        sexually too.” In a chat dated August 26, 2009, Mr. Christy admitted to performing
        sex on a 12 year old neighborhood boy within the last three months, and a 14 year
        old girl a few years ago.

Re-Disclosed PSR ¶ 34, at 13-14. “Investigators noted Mr. Christy’s chat logs revealed he dedicated

a lot of his time in internet chat looking for other adolescent girls in which to cultivate a sexual

relationship.” Re-Disclosed PSR ¶ 35, at 14. “After speaking to surrounding neighbors, deputies

also learned Mr. Christy would often interact with kids in the neighborhood,” and would invite them

to “breakfast and to use his Jacuzzi hot tub.” Re-Disclosed PSR ¶ 35, at 14. “Additionally, the

forensic examiners, also uncovered large amounts of internet search activity searching for child

pornographic images on the internet, as well as countless amounts of chats illustrating Mr. Christy’s


v. Christy, 2010 WL 2977610, at *4.

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sexual interest in young females, including have ‘cybersex’ with a web cam.” Re-Disclosed PSR

¶ 39, at 15. “Examiners discovered his searches revealed him seeking out younger females, 15 years

old or younger, by using ‘older_for_young1,’ and screening for girls with younger profiles.” Re-

Disclosed PSR ¶ 39, at 15. “Mr. Christy would join chats with titles such as ‘horny teens 4 old dirty

men’ and ‘father and daughter romance.’” Re-Disclosed PSR ¶ 39, at 15.

        On November 9, 2009, New Mexico officers arrested Christy for the underlying criminal

conduct at issue in this case. See Re-Disclosed PSR ¶ 81, at 21. The State of New Mexico charged

Christy with various counts, including: (i) two counts of criminal sexual penetration; (ii) one count

of criminal sexual conduct; (iii) four counts of sexual exploitation of children; (iv) one count of

contributing to a delinquency of a minor; and (v) one count of custodial interference. See Re-

Disclosed PSR ¶ 81, at 21. The state court dismissed those charges on speedy trial grounds. See

Re-Disclosed PSR ¶ 81, at 21.

        Christy possessed some child pornography images from a series of images attributable to an

individual named Vicky. See Re-Disclosed PSR ¶¶ 42-46, at 15-16. There “is a national restitution

claim pending by the victim of the ‘Vicky’ series.” Re-Disclosed PSR ¶ 45, at 16. Although Vicky

has an attorney representing her case, the USPO was not able to contact her attorney. See Re-

Disclosed PSR ¶ 45, at 16. “As of June 10, 2011, the attorney for the victim identified in the

‘Vicky’ series advised the full amount of ‘Vicky’s’ document economic losses are $1,224,697.04.”

Re-Disclosed PSR ¶ 45, at 16. “As of June 10, 2011, the victim of the ‘Vicky’ series has received

$248,279.40 in restitution payments,” bringing the amount of restitution she is allegedly entitled to

receive “to $976,417.64.” Re-Disclosed PSR ¶ 46, at 16. “As of the latest information, there are

more than 40 judgment nationwide” in Vicky’s favor, totaling $2,638,291.82. Re-Disclosed PSR

¶ 46, at 16.

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                               PROCEDURAL BACKGROUND

        A federal grand jury indicted Christy on a superceding indictment with: (i) one count of

Transportation with Intent to Engage in Criminal Sexual Activity, in violation of 18 U.S.C.

§ 2423(a); and (ii) three counts of Possession of a Matter Containing Visual Depictions of Minors

Engaged in Sexually Explicit Conduct, in violation of 18 U.S.C. §§ 2252(a)(4)(b), 2252(b)(2), and

2256. See Superseding Indictment at 1-3, filed April 26, 2011 (Doc. 93). On September 30, 2011,

Christy pled guilty to Counts 1 and 2 in the Information, filed September 30, 2011 (Doc. 193),

charging him in Count 1 with a violation of 18 U.S.C. § 2422(a), that being coercion and enticement,

and in Count 2 with a violation of 18 U.S.C. §§ 2252(a)(4)(b), 2252(b)(2), and 2256, that being

possession of matter containing visual depictions of minors engaged in sexually explicit conduct.

See Plea Agreement ¶ 3, at 2. The Plea Agreement stipulates, under rule 11(c)(1)(c) of the Federal

Rules of Criminal Procedure, to a “term of imprisonment of 9 years (108 months).” Plea Agreement

¶ 9, at 5. “Both parties agree that neither a request for an upward departure nor a request for a

downward departure is permitted by either of the parties.” Plea Agreement ¶ 9, at 5. Christy

“agrees not to seek a downward departure or variance from the stipulated sentence of 9 years

imprisonment.” Plea Agreement ¶ 12, at 11. “The parties agree that, as part of the Defendant’s

sentence, the Court will enter an order of restitution pursuant to the Mandatory Victim’s Restitution

Act, 18 U.S.C. § 3663A.” Plea Agreement ¶ 7, at 4. The parties agree that Christy will pay Vicky,

one of the females depicted in some of the child pornography images found in Christy’s possession,

$500.00 in restitution. See Plea Agreement ¶ 7, at 4. Christy “reserves the right to have a hearing

on any restitution sought or ordered as related to Count 1, after completion of the presentence report

in this case.” Plea Agreement ¶ 7, at 4. Christy stipulates: “I engaged in sexual conversations with

Jane Doe, a person I knew to be 16 years of age. These sexual conversations between Jane Doe and

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myself included the exchange of sexually explicit images of each other and discussions about sexual

activities between the two of us.” Plea Agreement ¶ 10, at 6. Christy stipulates that, “[d]uring the

course of” his travels with Doe, he “had sexual intercourse with Jane Doe at a motel in Needles,

California and my Albuquerque, New Mexico residence.” Plea Agreement ¶ 10, at 6-7. He

stipulates that he “knew Jane Doe was 16 years old at the time of this sexual activity.” Plea

Agreement ¶ 10, at 6-7. Christy stipulates that, “[b]y planning to take and ultimately taking Jane

Doe from her home without her parents’ permission, [he] caused and encouraged Jane Doe to refuse

to obey the reasonable and lawful commands or direction of her parents, who had lawful authority

over her.” Plea Agreement ¶ 10, at 7. Christy agrees to waive “the right to appeal [his] convictions

and any sentence that is consistent with the sentence agreed to by the parties in” the Plea Agreement,

“as well as any fine and/or restitution ordered by the Court.” Plea Agreement ¶ 22, at 14-15.

       1.      Contents of the Re-Disclosed PSR.

       The USPO disclosed a Presentence Investigation Report (“PSR”) for Christy on December

13, 2011. The USPO re-disclosed the PSR on February 8, 2012, to address some concerns the

United States had raised regarding the number of child pornography images attributable to Christy.

In the Re-Disclosed PSR, the USPO does not group Counts 1 and 2 pursuant to application note 2

to U.S.S.G. § 3D1.2. See Re-Disclosed PSR ¶ 58, at 18. For Count 1, the USPO calculates

Christy’s base offense level to be 24. See Re-Disclosed PSR ¶ 50, at 17. The Re-Disclosed PSR

includes a 2-level enhancement for Count 1 under U.S.S.G. § 2G1.3(b)(2)(B), because Christy

exercised undue influence over Doe. See Re-Disclosed PSR ¶ 51, at 17-18. The Re-Disclosed PSR

includes a 2-level enhancement for Count 1 under U.S.S.G. § 2G1.3(b)(3), because “the offense

involved the use of a computer or an interactive computer service” to “communicate directly with

Jane Doe.” Re-Disclosed PSR ¶ 52, at 18. The Re-Disclosed PSR includes a 2-level enhancement

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for Count 1 under U.S.S.G. § 2G1.3(b)(4), because “the offense involved the commission of a sex

act or sexual contact.” Re-Disclosed PSR ¶ 53, at 18. The USPO relates that a 2-level enhancement

is appropriate under U.S.S.G. § 2G1.3(b)(4), because “the defendant admitted to having sexual

intercourse with Jane Doe . . . , once in a motel, and another time upon arriving at his residence in

Albuquerque, New Mexico.” Re-Disclosed PSR ¶ 53, at 18. The Re-Disclosed PSR calculates an

adjusted offense level of 30 for Count 1. See Re-Disclosed PSR ¶ 57, at 18.

       For Count 2, the USPO calculates a base offense level of 18 pursuant to U.S.S.G.

§ 2G2.2(a)(1). See Re-Disclosed PSR ¶ 59, at 18. The USPO applies a 2-level enhancement for

Count 2 under U.S.S.G. § 2G2.2(b)(2), because some of the material found in Christy’s possession

“involved a prepubescent minor or a minor who had not attained the age of 12 years.” Re-Disclosed

PSR ¶ 60, at 19.      The USPO applies a 4-level enhancement for Count 2 under U.S.S.G.

§ 2G2.2(b)(4), because “the offense involved material that portrays sadistic or masochistic conduct

or other depictions of violence.” Re-Disclosed PSR ¶ 61, at 19. The USPO relates that “the

defendant possessed one image of a prepubescent minor with an adult penis in her mouth” on one

of his computers. Re-Disclosed PSR ¶ 61, at 19. The USPO asserts that the “image appears to be

sadistic as pain and humiliation is caused to this child.” Re-Disclosed PSR ¶ 61, at 19. The USPO

notes that the image represents “conduct sufficiently likely to involve pain to support a finding that

it is inherently ‘sadistic or violent.’” Re-Disclosed PSR ¶ 61, at 19. The USPO applies a 5-level

enhancement for Count 2 under U.S.S.G. § 2G2.2(b)(5), because Christy “engaged in a pattern of

activity involving the sexual abuse or exploitation of a minor.” Re-Disclosed PSR ¶ 62, at 19. The

USPO applies a 2-level enhancement for Count 2 under U.S.S.G. § 2G2.2(b)(6), because “the

offense involved the use of a computer or an interactive computer service for the possession,

transmission, receipt, or distribution of the” pornographic material. Re-Disclosed PSR ¶ 62, at 19.

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The USPO applies a 5-level enhancement for Count 2 under U.S.S.G. § 2G2.2(b)(7)(D), because

“the offense involved more than 600 images.” Re-Disclosed PSR ¶ 64, at 20. The Re-Disclosed

PSR calculates an adjusted offense level of 36 for Count 2. See Re-Disclosed PSR ¶ 68, at 20.

       After making an adjustment for the multiple counts under U.S.S.G. § 3D1.4, the USPO

calculates a combined adjusted offense level of 37. See Re-Disclosed PSR ¶¶ 69-75, at 20. The Re-

Disclosed PSR includes a 3-level reduction under U.S.S.G. § 3E1.1 based on Christy’s acceptance

of responsibility. See Re-Disclosed PSR ¶ 76, at 20. The Re-Disclosed PSR calculates a total

offense level of 34. See Re-Disclosed PSR ¶ 77, at 20. The Re-Disclosed PSR lists his criminal

history category as I, based on 0 criminal history points. See Re-Disclosed PSR ¶ 80, at 21. The

Re-Disclosed PSR calculates that an offense level of 34 and a criminal history category of I results

in a guideline imprisonment range of 151 to 188 months. See Re-Disclosed PSR ¶ 107, at 27.

       The USPO relates that 18 U.S.C. § 3583(k) permits a term of supervised release of “not less

than 5 years to life.” Re-Disclosed PSR ¶ 109, at 27. The USPO relates that U.S.S.G. § 5D1.1(b)

prescribes a term of supervised release of “not less than 5 years to life.” Re-Disclosed PSR ¶ 110,

at 27. The USPO states that “[t]he Mandatory Restitution for Sexual Exploitation of Children Act”

is applicable to this case. Re-Disclosed PSR ¶ 119, at 29. The USPO notes that “[r]estitution is

outstanding and due in the amount of $976,417.64 to the victim of the ‘Vicky’ series of child

pornography.” Re-Disclosed PSR ¶ 120, at 29. Nevertheless, the USPO follows the parties’

stipulation that Christy will pay Vicky $500.00. See Re-Disclosed PSR ¶ 120, at 29.

       2.      The Parties’ Objections to the PSR and Arguments for an Appropriate Sentence.

       On January 20, 2012, the United States filed its USA Sentencing Memorandum. See Doc.

200. The United States asserts that, consistent with the Plea Agreement, the Court should impose

a sentence of nine-years imprisonment. See USA Sentencing Memorandum at 7-8. The United

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States asserts that a 4-level enhancement under U.S.S.G. § 2G2.2(b)(4) is not appropriate, because,

“[t]ypically, courts in this district have imposed this enhancement if the [child pornography] images

depict bound children,” and because Christy “did not possess any images depicting bondage or

excessive torture of children.” USA Sentencing Memorandum at 6. The United States agrees that

a 5-level enhancement under U.S.S.G. § 2G2.2(b)(7)(D) should apply, given that Christy “possessed

well over 600 images on his computers and computer-related media,” along with “6 known child

pornography videos,” even though the United States maintains there is a “miscalculation in the

PSR.” USA Sentencing Memorandum at 7. The United States also requests that the Court impose

a lifetime term of supervised release. See USA Sentencing Memorandum at 8. The United States

contends that lifetime supervised release is appropriate, because “[t]here is a risk of future

recidivism,” given that Christy “is an individual who preys upon young and vulnerable children, all

in pursuit of his selfish, sexual interests.” USA Sentencing Memorandum at 8. The United States

asserts that Christy has “exploited numerous children through his collection of child pornography

images and videos,” and will “go to great lengths to gain access to children with whom he can

engage in actual sexual relations.” USA Sentencing Memorandum at 9. Relying on an article

entitled Re-Offense Rates of Adult Sex Offenders, the United States argues that “there is a higher

recidivism rate of contact sex offenders, like the Defendant, over time.” USA Sentencing

Memorandum at 9-10 (citing Dr. S. Brake & G. Veeder, Re-Offense Rates of Adult Sex Offenders

(Doc. 200-1)).

       On March 15, 2012, Christy filed his Defendant’s Motion for Leave to File out of Time

Objections to Presentence Report. See Doc. 203 (“Motion for Leave to Late File”).2 Attached to


       2
       On August 2, 2012, the Court granted the Motion for Leave to Late File. See Memorandum
Opinion and Order at 1 (Doc. 220).

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the Motion for Leave to Late File are his Objections. See Doc. 203-1. In his Objections, Christy

“objects to the characterization, under the heading ‘Custodial Status,’ of the first 209 days of

Defendant’s confinement as ‘state custody,’” on the basis that “this investigation has at all times

been a federal investigation.” Objections at 1. Christy objects to various statements in the Re-

Disclosed PSR regarding the restitution he owes given that he has already stipulated “to pay the sum

of $500.00 restitution for the alleged victims in Count 2 of the information.” Objections at 1-2, 9.

Christy objects to a statement in paragraph 6 of the Re-Disclosed PSR that he was placed in a

halfway house in Las Cruces, New Mexico. See Objections at 2. Christy objects to “the statements

contained in paragraph 8 of the presentence report insofar as it states that emails and pictures

exchanged between Mr. Christy” and Doe were “sexually explicit.” Objections at 2. Christy

“objects to the suggestion, contained in paragraph 8, that Mr. Christy was aware of the female’s true

age at the time the emails and photos were exchanged.” Objections at 2. Christy “objects to the

statement contained in paragraph 9 that ‘Mr. Christy had arranged a meeting with Jane Doe (juvenile

female), in the middle of the night, for Jane Doe (juvenile female) to run away with Mr. Christy,’”

because Doe “threatened to harm herself if Mr. Christy did not come get her.” Objections at 2.

Christy “objects to the statement in paragraph 9 that ‘deputies’ looked through a window, and

requests that the statement be changed to reflect the actual truth, that only Deputy Littlefield looked

through a crack in the blinds of a window, and no one else.” Objections at 2. Christy objects to a

similar statement in paragraph 15 of the Re-Disclosed PSR. See Objections at 3. Christy “further

objects to the statement in paragraph 9 that the female ‘was tied up by her wrist, and neck with

straps, and was hanging from ceiling rafters,’” because this statement does not accurately reflect

what occurred. Objections at 3. Christy “objects to the statement in paragraph 9 that he ‘had been

actively using the Yahoo chat service since early 2003, to meet young girls and develop a

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relationship,’” because the statement “implies that Mr. Christy sought out young girls for improper

purposes, when, in fact, Mr. Christy did communicate with numerous persons on the Yahoo chat

service, of unknown gender and age, none of which Mr. Christy ever met personally, and none of

whose actual identities have been established.” Objections at 3. Christy “objects to the statement

at the end of paragraph 10, which characterizes the photographs and conversations between Mr.

Christy and Jane Doe as sexually explicit,” because “[a]lthough the pictures depicted nudity, none

were sexually explicit, and though the conversations contained discussions of Jane Doe’s desire to

establish a dominant/submissive relationship with an older man, none described sexual acts.”

Objections at 3.

        Christy “objects to the reference, in paragraph 15, to ‘camera-like’ flashes, as Deputy

Littlefield’s testimony was adamant in stating that he had seen camera flashes, in order to support

his assertion that child pornography was being produced.” Objections at 3. Christy objects to

references in paragraph 17 of the Re-Disclosed PSR to one of the photographs Doe allegedly sent

where she was posing nude, given that they are included “for shock value” and to suggest that he

“had something to do with the production of these photos.” Objections at 3-4. Christy also relates

that Doe had already sent these photographs to another person and that Doe’s sister took the

pictures, such that, “if these statements are to be accurate, they either have to include the whole truth

of the matter, or be entirely stricken.” Objections at 4. Christy “objects to the statements in

paragraph 18 where in it is stated that Mr. Christy stated that he had sex with the juvenile female

twice, once in Needles, California, and once in Albuquerque, New Mexico,” given that “any

consensual acts between Mr. Christy and Jane Doe which occurred in the State of New Mexico were

legal acts, as the age of consent in New Mexico is 16 years of age.” Objections at 4. Christy

“objects to the statements in paragraph 19 of the PSR which begin with Mr. Christy’s admission that

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he knew Jane Doe was sixteen years old on November 6, 2009, and concluding with Mr. Christy’s

alleged statement that ‘the emails between him and Jane Doe (juvenile female) were normal,’”

because the age of consent in New Mexico is sixteen, making these statements misleading.

Objections at 4-5.

       Christy “objects to the failure to include the statement by Jane Doe during her interview with

the FBI that she took medication for ‘delusional thinking’ in any of the paragraphs relating to her

interview,” because this information bears on Doe’s credibility. Objections at 5. Christy “objects

to the inclusion of all statements contained in paragraphs 23 through 26 in the section of the PSR

relating to the ‘Interview with K.Y.,’” because “all these statements relate to the search of Mr.

Christy’s residence and subsequent interviews with Jane Doe, and are not properly part of the

discussion of the FBI interview with Jane Doe.” Objections at 5. Christy objects to “the statement

in paragraph 23 relating to Mr. Christy’s laptop being on his desk, having a web cam positioned so

that it was pointing at a harness sex swing . . . approximately six feet from the computer.”

Objections at 5. He asserts that this statement “mischaracterizes the evidence, and creates the

untruthful impression that Mr. Christy used the web cam for any improper purpose, totally ignoring

the fact that no images were ever recovered . . . of any pictures taken with said web cam.”

Objections at 5. Christy “objects to the statement in paragraph 23 that there was a wireless router

on the desk, and” that this arrangement “was suspicious because no other computer equipment could

be located in the residence that would be networked via said router,” given that “this statement

ignores the obvious fact that the laptop on the desk could be used . . . from any location in the

house.” Objections at 6. Christy “objects to the statements in paragraph 24 wherein it stated that

‘Several sex toys which appeared to have been used, along with pornographic comics, were also

located in the bedroom,’” because “this describes matters which imply sexual conduct which, in

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New Mexico, would not have been criminal.” Objections at 6. Christy “further objects to the

reference to finding a .45 caliber pistol in a safe, as” this conduct is legal and “is inserted herein only

for its unfair prejudicial value.” Objections at 6. Christy “objects to the inclusion, in paragraph 26,

of the statement that Mr. Christy inserted a ‘butt plug’ into Ms. Doe’s anus, as such statement was

contradicted by Doe’s own testimony before the grand jury in this case,” and because the conduct

“would have been legal under New Mexico law.” Objections at 6-7. Christy “objects to the

inclusion in paragraph 27 of the reference to ‘ten possible cartoon child pornography images . . . and

112 underage girls in sexually suggestive positions who were half-clothed, known to be child

erotica,” because “by definition, cartoons cannot be pornographic,” and the “reference to ‘112

underage girls . . . known to be child erotica’ should not be included because the possession of any

such images is not a crime and cannot be considered ‘relevant conduct’ for that reason.” Objections

at 7.

        Christy “further objects to the inclusion in paragraph 27 of any reference to ‘110109144.jpg’

which was a close image of Jane Doe’s (juvenile female) vagina,” because “said image has not been

identified by any means, and because the image, if actually that of ‘Jane Doe,’ was transmitted to

Defendant prior to his finding out ‘Jane Doe’s’ true age.” Objections at 7. Christy “objects to the

inclusion of any of the matters contained in paragraph 29, as the charges brought by the State of

New Mexico were demonstrably untrue,” because Doe had told officers that the sex was consensual

and “because the sexual acts attributed to the Defendant in the State of New Mexico were not

criminal conduct.” Objections at 7. Christy further objects that his “alleged statements at the end

of paragraph 29 are simply not relevant for any purpose, as they do not constitute a criminal act or

indicate criminal intent, but are included simply for prejudicial effect.” Objections at 7-8. Christy

        objects to the statement in paragraph 30 of the PSR that ‘In sum, Mr. Christy

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       communicated with Jane Doe (juvenile female) for two months via email and online
       chats, knowing she was a minor.”, [sic] as this statement is a total fabrication,
       demonstrably untrue, if one makes a mere cursory examination of the emails
       exchanged and evidence in this case, i.e., that the sites on which Mr. Christy
       encountered “Jane Doe” required a registrant to be at least eighteen years of age, that
       “Jane Doe’s” profiles on these sites all listed her age as being at least that old, and
       that no indication of her true age occurred until November 3, 2009.

Objections at 8. Christy “objects to the entire contents of paragraph 33, as they are simply untrue,”

and “[n]o allegation of molestation has been made, as referred to, and no ‘grooming’ behavior

occurred.” Objections at 8-9. Christy also states that no “minors [have] been actually identified

with whom Mr. Christy had sexual conversations on the internet.” Objections at 9. Christy objects

to the “entire contents of paragraph 34, as all such conversations were ‘roll playing,’ in which Mr.

Christy attempted to identify persons in chat rooms by assuming the rolls that they, themselves led,”

because “[n]one of this behavior is ‘offensive behavior,’ as no minor has ever actually been

identified as the recipient of any of these communications.” Objections at 9. Christy “makes the

same objection to paragraph 35, as to paragraph 34, for the same reasons.” Objections at 9. Christy

“objects to the statement in paragraph 48 of the PSR that he has not made a statement accepting

responsibility, as such statement was made orally to the interviewer during the interview in custody

and with counsel, before the original disclosure was made.” Objections at 9.

       Christy

       objects to the application of the 2 level increase in the sentencing level contained in
       paragraph 51 of the PSR (Undue Influence), and would respectfully show the Court
       that, while the young lady (Jane Doe) was, indeed, much younger than Mr. Christy,
       her previous admitted behavior of seeking out older men online by misrepresenting
       her age was the controlling factor in her own behavior, and the rebuttable
       presumption of undue influence does not apply to this case.

Objections at 9. Christy “objects to the two level increase in paragraph 53 pursuant to Section

2G1.3(b)(4), as the sexual conduct engaged in by Mr. Christy at his home in Albuquerque, New


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Mexico was not prohibited sexual conduct under New Mexico law, and no other sexual conduct has

been proven beyond a reasonable doubt.” Objections at 9-10. He

       objects to the four level increase in paragraph 61 pursuant to Section 2G2.2(b)(4)
       because the PSR writer simply presumes from the subject matter of the alleged
       image that pain and humiliation is inflicted on the child made the subject matter of
       the image referred to. The image is not inherently sadistic or violent, though it
       certainly may be found to be disgusting, and so the four level increase in sentencing
       level should not apply.

Objections at 10. Christy “objects to the five level increase in sentencing level contained in

paragraph 62, to the extent that it punishes behavior that was not against the law in the State of New

Mexico.” Objections at 10. Christy “objects to the inclusion of the charges filed by the State of

New Mexico in this case in paragraph 81, Criminal History, Other Arrests, as this is the same case,

the agents of the State of New Mexico had no factual or legal basis for the Counts charged,” and

“had affirmative knowledge that the charged conduct was not criminal under New Mexico law.”

Objections at 10. Christy “objects to the inclusion of the statement in paragraph 95 that he ‘used

cocaine on a monthly basis for six months’ at the age of 25, and denies any such use or statement.”

Objections at 10. He “objects to the suggestion, in paragraph 115 and Attachment A, insofar as it

suggests that Mr. Christy should in any way be subjected to lifetime supervision, and reserves his

right to present evidence at sentencing relating to his lack of future dangerousness and low risk of

recidivism.” Objections at 10. Christy “objects to any suggestion that he has the ability to pay a

fine in any amount, contained in paragraphs 116 and 117.” Objections at 10-11. Christy “objects

to any suggestion, contained in paragraph 118, that he has any ability whatever to pay the costs of

his incarceration or prosecution.” Objections at 11.

       On April 18, 2012, the USPO disclosed a Second Addendum to the Presentence Report to

respond to Christy’s objections. The USPO makes some of Christy’s requested changes regarding


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how much time he spent in state custody, but maintains that Christy spent time in state custody. See

Second Addendum to PSR at 2. The USPO does not make any of Christy’s requested changes to

the sections of the Re-Disclosed PSR discussing restitution, because some of “the information was

obtained from the stipulations in the defendant’s plea agreement,” and the rest of “the information

is simply to provide the Court information regarding the national restitution claim pending by the

victim of the ‘Vicky’ series, including the amount of economic losses.” Second Addendum to PSR

at 2-4. The USPO maintains that the statements in paragraph 8 that the photographs exchanged

between Christy and Doe were sexually explicit is consistent with the definition of that term in 18

U.S.C. § 2256. See Second Addendum to PSR at 2. The USPO asserts that an electronic mail

transmission confirms that Christy knew Doe was sixteen as of June 6, 2009, and that Christy

admitted that he knew Doe was sixteen when confronted with an electronic mail transmission he

sent on November 6, 2009. See Second Addendum to PSR at 2. Regarding Christy’s objection “to

the information contained in paragraphs 9, 10, 15, 17, 18, 19, 23-26, 27, and 29,” the USPO asserts

that the available discovery supports these statements, including various investigation reports.

Second Addendum to PSR at 2-3. Regarding Christy’s objection to paragraph 30 regarding the

statements that he instructed Doe to fabricate a story about running away, the USPO state that this

paragraph “will remain unchanged as the information was obtained from discovery, the defendant’s

own admissions, and statements made by the victim.” Second Addendum to PSR at 3. Regarding

Christy’s objections “to the information contained in paragraph 32, and paragraphs 33-35” which

address alleged conduct involving other minors, the USPO responds that “the information is reliable

based on the available discovery,” and notes that, “[p]ursuant to 18 U.S.C. § 3661 and U.S.S.G.

§ 6A1.3, regarding resolution of disputed factors, no limitation should be placed on the information

concerning the background, character, and conduct of a person convicted of an offense for the

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purpose of imposing an appropriate sentence.” Second Addendum to PSR at 3. The USPO also

notes that “[t]he information contained does not enhance the base offense level or any related

specific offense characteristics, and is listed under Offense Behavior Not Part of Relevant Conduct.”

Second Addendum to PSR at 3. The USPO relates that Christy has still not provided a written

statement accepting responsibility. See Second Addendum to PSR at 4.

       The USPO maintains that a 2-level enhancement under U.S.S.G. § 2G1.3(b)(2)(B) is

“correctly applied,” given the “41 year difference” between Christy and Doe’s age, and the

“rebuttable presumption” of undue influence in light of the more than 10-year age difference.

Second Addendum to PSR at 4. The USPO states that a 2-level increase under U.S.S.G.

§ 2G1.3(b)(2)(B) is appropriate, given that “the defendant admitted to having sexual intercourse

with Jane Doe . . . , once in a motel, and another time upon arriving at his residence in Albuquerque,

New Mexico.” Second Addendum to PSR at 5. The USPO asserts that a 4-level enhancement under

U.S.S.G. § 2G2.2(b)(4) is appropriate given that “[t]he image” in question “can be interpreted to be

sadistic as pain and humiliation is caused to this child.” Second Addendum to PSR at 5. The USPO

relates that a 5-level increase under U.S.S.G. § 2G2.2(b)(5) is appropriate, because “Christy

admitted to engaging in sexual intercourse with Jane Doe (juvenile female) on two separate

occasions.” Second Addendum to PSR at 5. The USPO states that, regarding Christy’s argument

that the USPO has recommended lifetime supervised release: “Paragraph 114 will remain unchanged

as this paragraph makes no reference to a recommendation for lifetime supervision.” Second

Addendum to PSR at 6. Regarding the paragraphs related to fines to which Christy objects, the

USPO relates that this language “will remain unchanged as it is standard language in the presentence

report provided for identifying guideline and statutory provisions available to the Court.” Second

Addendum to PSR at 6. The USPO states in the Second Addendum to PSR that it makes Christy’s

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requested changes regarding the halfway house in which he lived and the number of deputies who

looked through the window. See Second Addendum to PSR at 6.

       3.      The Sentencing Hearing on May 23, 2012.

       At the sentencing hearing on May 23, 2012, Christy stated that his main objection is to

statements in the Re-Disclosed PSR that characterize his actions as having knowingly corresponded

with an underage girl for several months before his arrest. See Transcript of Hearing at 6:3-7 (taken

May 23, 2012)(“Tr.”)(McMillian).3 Christy conceded that, as of November 6, 2009, he knew that

Doe was a minor. See Tr. at 7:20-8:2 (McMillian). He argued, however, that many of the

exchanges between the two, including transferring images, occurred before he acquired that

knowledge. See Tr. at 7:20-8:2 (McMillian). The United States responded that Christy had

stipulated that some of the photographs that he and Doe exchanged were sexually explicit in his Plea

Agreement. See Tr. at 8:9-13 (Kastrin). The United States noted that there is other evidence

available indicating that Christy arranged with Doe to fabricate a story that he did not know Doe was

underage. See Tr. at 9:13-10:6 (Kastrin). The parties then came to an agreement to modify the Re-

Disclosed PSR to state that Christy knew that Doe was sixteen before he left to pick her up in

California and to omit any reference to when he specifically became aware of her age. See Tr. at

13:12-20 (Kastrin, Court, McMillian).

       Christy then argued that the 2-level enhancement under U.S.S.G. § 2G1.3(b)(2)(B) for undue

influence was inappropriate, but conceded that a rebuttable presumption that the enhancement is

appropriate in light of the age difference between Doe and himself. See Tr. at 13:3-13 (Court,

McMillian). Christy stated that he did not intend to pursue rebutting that presumption and that the


       3
        The Court’s citations to the transcript of the hearing refers to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.

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Court could overrule his objection to this 2-level enhancement. See Tr. at 13:10-21 (McMillian,

Court). The United States argued that Christy’s sexual contact in New Mexico with Doe was in

furtherance of another crime, specifically custodial interference and contributing to the delinquency

of a minor under N.M.S.A. 1978, §§ 30-6-3 and 30-4-4. See Tr. at 14:15-22 (Rees). The United

States also noted that criminal sexual penetration under N.M.S.A. § 30-9-11 criminalizes sexual

perpetration perpetrated during the commission of another felony. See Tr. at 15:4-11 (Rees). The

United States asserted that New Mexico recognizes that a minor is a person under the age of

eighteen years old. See Tr. at 15:17-21 (Rees). The United States noted that Christy had pled guilty

in Count 1 to having engaged in conduct that could have violated all three of these statutes. See Tr.

at 16:20-17:11 (Court, Rees). Christy asserted that, in spite of his guilty plea, the United States still

cannot show a pattern of conduct for purposes of a 2-level enhancement under U.S.S.G.

§ 2G1.3(b)(4). See Tr. at 17:14-17 (McMillian). The Court and the United States noted that this

enhancement does not require a pattern of conduct, but only a sex act or sexual contact. See Tr. at

17:22-18:3 (Court, Rees). The Court then overruled Christy’s objection to the 2-level enhancement

under U.S.S.G. § 2G1.3(b)(4). See Tr. at 18:6-18 (Court, McMillian).

        Christy then argued that a 5-level enhancement was not appropriate under U.S.S.G.

§ 2G2.2(b)(5), given that his sexual acts in New Mexico were lawful. See Tr. at 19:2-8 (Court,

McMillian). The United States argued that there is a large amount of evidence indicating that

Christy has engaged in a pattern of sexual exploitation of minors, including all the child

pornography found in his possession and the individuals with which he chatted online. See Tr. at

20:13-21:22 (Rees). Christy asserted that none of the individuals he chatted with have been

identified, including whether they are adults or minors, but conceded that the chat conversations

have been presented to the Court. See Tr. at 21:24-22:8 (McMillian). Christy noted that no one has

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proved that he engaged in any sexual acts with children in his neighborhood. See Tr. at 22:9-13

(McMillian). The Court noted that the application note to U.S.S.G. § 2G2.2(b)(5) indicates that it

has a low threshold for a pattern of activity, requiring only two or more separate instances of sexual

abuse or sexual exploitation of a minor. See Tr. at 22:14-22 (Court). The Court noted that there was

sufficient evidence to find that this enhancement applied by a preponderance of the evidence in light

of Christy admitting to two sexual acts with Doe on separate occasions, and the Court overruled

Christy’s objection. See Tr. at 22:14-23:8 (Court). The Court then sustained the parties’ objection

to the 4-level enhancement under U.S.S.G. § 2G2.2(b)(4) on the basis that, while bondage is not

required to support an enhancement under this guideline, the picture did not portray sadistic or

masochistic acts. See Tr. at 25:7-31:7 (Court). The Court also concluded that, while awarding

restitution to Vicky would not normally be appropriate given that Christy did not cause any of her

harm and in light of the lack of evidence regarding her damages, the parties’ stipulation to an award

of $500.00 in restitution to her relieved the United States of its burden to prove the appropriateness

of restitution. See Tr. at 33:22-38:19 (Court). The United States asserted that it was not prepared

to put forward any evidence, other than Christy’s stipulation, regarding Vicky’s damages. See Tr.

at 38:20-39:7 (Rees).

       The Court then heard testimony from Dr. Carmen Petzold regarding an appropriate term of

supervised release for Christy, and, specifically, Christy’s risk of recidivism. Dr. Petzold explained

her education, training, and experience with sex-related crimes and related issues, including

developing a juvenile sex-offender treatment program. See Tr. at 46:3-11 (Petzold). Dr. Petzold

testified that she spent approximately sixty hours working on Christy’s case and about fourteen

hours in diagnostic interviews with him. See Tr. at 50:14-51:1 (McMillian, Petzold). Dr. Petzold

then explained the testing and evaluations she conducted with Christy. See Tr. at 51:3-53:1

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(McMillian, Petzold). She asserted that there are no indications Christy suffered abuse as a child,

but noted that he had a hard time dealing with his father’s death. See Tr. at 52:16-53:1 (Petzold).

Dr. Petzold stated that, based on Christy’s history, there were not many indicators suggesting that

he would be likely to commit crimes. See Tr. at 55:22-56:12, 59:12-59:1 (Petzold). Dr. Petzold

related that some of the tests she conducted with Christy indicated that he: (i) is honest about his

symptoms; (ii) has feelings of persecution and paranoia; (iii) is naive and optimistic; (iv) is

energetic, precarious, and creative; (v) has no signs of a personality disorder or aggressiveness; and

(vi) has some signs of predisposition to addictive behavior. See Tr. at 60:6-61:21 (Petzold). She

stated that a test that focused on his long-term personality traits and behavior indicated that Christy:

(i) showed signs of wanting to avoid other people, especially in a group setting; (ii) has the

capability to have close relationships with others; and (iii) has a tendency to become isolated.

See Tr. at 61:23-62:24 (Petzold). Dr. Petzold stated a test she performed on Christy regarding his

sexual characteristics indicated that: (i) he had sexual desires similar to most adult heterosexual

males; (ii) his level of sexual knowledge did not suggest he was likely to commit sex-related

offenses; and (iii) he had indicators of sexual obsession consistent with most males. See Tr. at 65:3-

19 (Petzold). Dr. Petzold said that Christy admitted to having sexual fantasies about post-pubescent,

fully developed adolescents, and admitted to using leather whips and handcuffs before in a sexual

manner. See Tr. at 66:14-19 (Petzold). She related that Christy answered questions in a more

straightforward and open manner than most sex offenders she had seen. See Tr. at 66:20-23

(Petzold). Dr. Petzold concluded that Christy is not and has not been suffering from any major

mental illness. See Tr. at 70:16-21 (Petzold).

        Dr. Petzold concluded that Christy is not a pedophile, because he does not have ongoing

sexual fantasies or interest in prepubescent individuals, and because Doe consented to the sexual

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acts in question. See Tr. at 71:1-7 (Petzold). She related that his characteristics of naivete and

emotional immaturity likely contributed to his commission of the offenses to which he pled guilty.

See Tr. at 71:8-15 (Petzold). She stated that Christy has a susceptibility to outside influences,

including what Christy described as a false sense of intimacy from interacting on the internet with

others. See Tr. at 71:16-72:1 (Petzold). She noted that his lack of sleep before having sexual

interactions with Doe likely contributed to some of his poor decision making given that he had

reported not sleeping for approximately forty hours before picking up Doe. See Tr. at 72:8-73:9

(Petzold, McMillian). She stated that Christy’s recidivism rate is lower, because of his age, and that,

once he reaches the age of sixty, his risk will decrease further. See Tr. at 74:3-20 (Petzold). She

noted that his lack of prior criminal history also supports a conclusion that he will not recidivate.

See Tr. at 75:2-10 (Petzold). She also stated that it is significant, in terms of Christy’s recidivism

rate, that he did not commit the offense in a public place or with the use of force. See Tr. at 75:25-

76:15 (Petzold). She stated that he had no history of anti-social behavior as an adolescent, had

stable employment history, and had no pattern of significant drug use. See Tr. at 76:16-77:3

(Petzold).

       Dr. Petzold related that some studies that have concluded that sex offenders have a higher

rate of recidivism are unreliable, because they lump too many disparate individuals into one sample

group and do not properly account for variations within a larger group. See Tr. at 83:7-83:25

(Petzold). She said that treatment for sex offenders has improved since the 1980’s and noted that

this change has helped lower their risk of recidivism. See Tr. at 84:4-12 (Petzold). Dr. Petzold

acknowledged that many sex offenders and their victims do not report the crimes, and that sex

offenders report only a fraction of their crimes after arrest. See Tr. at 84:15-85:12 (Petzold). She

related that some sex offenders will be more likely to recidivate than others. See Tr. at 85:23-86:7

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(Petzold). She stated that, in her history of performing tests to determine a defendant’s likelihood

of recidivism, she has never seen a defendant score as low for recidivism as Christy. See Tr. at

87:24-88:1 (McMillian, Petzold). She recommended that the Court impose a term of 5 years

supervised release. See Tr. at 89:14-22 (Petzold).

       Dr. Petzold acknowledged that surveillance of Christy’s computer activities would be

appropriate while he was on supervised release. See Tr. at 93:2-9 (Rees, Petzold). She said that

most of the child pornography images she had reviewed that investigators found in Christy’s

possession appeared to be of older children. See Tr. at 96:14-18 (Rees, Petzold). She related that

individuals can sometimes become addicted to child pornography and that those individuals would

be more likely to relapse into that behavior. See Tr. at 100:24-101:12 (Rees, Petzold). She

acknowledged that there are limitations to relying on tests that depend upon an individual’s self-

reported information. See Tr. at 127:3-14 (Rees, Petzold). She stated that she did not believe that

Christy had withheld information during the interviews she conducted with him. See Tr. at 128:19-

129:3 (Rees, Petzold). Dr. Petzold noted that, according to the tests she performed, Christy had a

7.62 percent chance of recidivism over the next five years and a 11.21 percent chance of recidivism

over the next ten years. See Tr. at 130:7-9 (Rees, Petzold). She noted that Christy had told her that

there had been accusations against him in relation to improper conduct with other children. See Tr.

at 154:22-24 (Rees, Petzold).

       The United States asked, in light of some representations Christy had made that certain

chatroom conversations were not attributable to him, that the Court take judicial notice of some of

its prior opinions where it had concluded that various chatroom conversations were attributable to

Mr. Christy. See Tr. at 172:8-15 (Rees). The United States also related that it was willing to have

a case agent testify that the child pornography images found in Christy’s home were from Christy’s

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computer media, but suggested that it may be more efficient to have the Court accept that evidence

through a proffer. See Tr. at 172:16-173:1 (Rees). Christy did not oppose presenting this evidence

by proffer and stated that he has, through presentation of his expert, conceded that this evidence is

attributable to him. See Tr. at 173:4-8 (McMillian).

                                  LAW REGARDING RULE 32

       Rule 32 of the Federal Rules of Criminal Procedure provides that a court must, at sentencing,

“for any disputed portion of the presentence report or other controverted matter -- rule on the dispute

or determine that a ruling is unnecessary either because the matter will not affect sentencing, or

because the court will not consider the matter in sentencing.” Fed. R. Crim. P. 32(i)(3)(B). To

invoke a district court’s rule 32 fact-finding obligation, a defendant is required to make “specific

allegations” of factual inaccuracy. United States v. Rodriguez-Delma, 456 F.3d 1246, 1253 (10th

Cir. 2006). Accord United States v. Jim, No. 10-2653, 2012 WL 2574807, at *23 (D.N.M. June 22,

2012)(Browning, J.). Defendants have “an affirmative duty to make a showing that the information

in the PSR was unreliable and articulate the reasons why the facts contained therein [were] untrue

or inaccurate.” United States v. Rodriguez-Delma, 456 F.3d at 1253. “The fact that a defendant has

objected to the ultimate conclusions drawn by the PSR, however, does not necessarily imply that

a ‘controverted matter’ exists.” United States v. Rodriguez-Delma, 456 F.3d at 1253 (citing United

States v. Murray, 82 F.3d 361, 363 (10th Cir. 1996)).

                              LAW REGARDING U.S.S.G. § 2G1.3

       18 U.S.C. § 2423(a) provides:

       A person who knowingly transports an individual who has not attained the age of 18
       years in interstate or foreign commerce, or in any commonwealth, territory or
       possession of the United States, with intent that the individual engage in prostitution,
       or in any sexual activity for which any person can be charged with a criminal
       offense, shall be fined under this title and imprisoned not less than 10 years or for

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        life.

18 U.S.C. § 2423(a). U.S.S.G. § 2G1.3(a)(3) provides a base offense level of 28 “if the defendant

was convicted under 18 U.S.C. §§ 2422(b) or 2423(a).” U.S.S.G. § 2G1.3(a)(3). U.S.S.G.

§ 2G1.3(b)(2) provides: “If (A) the offense involved the knowing misrepresentation of a

participant’s identity to persuade, induce, entice, coerce, or facilitate the travel of, a minor to engage

in prohibited sexual conduct; or (B) a participant otherwise unduly influenced a minor to engage in

prohibited sexual conduct, increase by 2 levels.” U.S.S.G. § 2G1.3(b)(2). Application note 3(B) to

this guideline provides in relevant part:

               In determining whether subsection (b)(2)(B) applies, the court should closely
        consider the facts of the case to determine whether a participant’s influence over the
        minor compromised the voluntariness of the minor’s behavior. The voluntariness
        of the minor’s behavior may be compromised without prohibited sexual conduct
        occurring.

        ....

                In a case in which a participant is at least 10 years older than the minor, there
        shall be a rebuttable presumption that subsection (b)(2)(B) applies. In such a case,
        some degree of undue influence can be presumed because of the substantial
        difference in age between the participant and the minor.

U.S.S.G. § 2G1.3 cmt n. 3(B).

        U.S.S.G. § 2G1.3(b)(4) provides: “If (A) the offense involved the commission of a sex act

or sexual contact; or (B) subsection (a)(3) or (a)(4) applies and the offense involved a commercial

sex act, increase by 2 levels.” U.S.S.G. § 2G1.3(b)(4). Application note 1 to this guideline

provides: “‘Sexual act’ has the meaning given that term in 18 U.S.C. § 2246(2).” U.S.S.G. § 2G1.3

cmt. n.1. 18 U.S.C. § 2246(2) provides:

        [T]he term “sexual act” means --

                (A)     contact between the penis and the vulva or the penis and the anus,
                        and for purposes of this subparagraph contact involving the penis

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                       occurs upon penetration, however, slight;

               (B)     contact between the mouth and the penis, the mouth and the vulva, or
                       the mouth and the anus;

               (C)     the penetration, however slight, of the anal or genital opening of
                       another by a hand or finger or by any object, with an intent to abuse,
                       humiliate, harass, degrade, or arouse or gratify the sexual desire of
                       any person; or

               (D)     the intentional touching, not through the clothing, of the genitalia of
                       another person who has not attained the age of 16 years with an intent
                       to abuse, humiliate, harass, degrade, or arouse or gratify the sexual
                       desire of any person . . . .

18 U.S.C. § 2246(2).

                             LAW REGARDING U.S.S.G. § 2G2.2

        For certain child pornography offenses, U.S.S.G. § 2G2.2(b)(4) authorizes a 4-level

enhancement to a defendant’s base offense level “[i]f the offense involved material that portrays

sadistic or masochistic conduct or other depictions of violence.” U.S.S.G. § 2G2.2(b)(4). The

application note to this subsection provides: “Subsection (b)(4) applies if the offense involved

material that portrays sadistic or masochistic conduct or other depictions of violence, regardless of

whether the defendant specifically intended to possess, access with intent to view, receive, or

distribute such materials.” U.S.S.G. § 2G2.2 cmt. n.2. The New Oxford American Dictionary

defines sadistic as “deriving pleasure from inflicting pain, suffering, or humiliation of others.” New

Oxford American Dictionary 1537 (A. Stevenson & C. Lindberg eds., 3d ed. 2010). The New

Oxford American Dictionary defines masochism as “the tendency to derive pleasure, esp. sexual

gratification, from one’s own pain or humiliation.” New Oxford American Dictionary, supra, at

1075.

        The United States Court of Appeals for the Tenth Circuit has held that the existence of


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images that “depict anal or vaginal penetration of prepubescent children by adults” is normally

sufficient to support a 4-level enhancement under this provision. United States v. Kimler, 335 F.3d

1132, 1143 (10th Cir. 2003)(emphasis in original). As support for its conclusion, the Tenth Circuit

quoted a portion of the district court’s opinion and “agree[d] with those findings and conclusions

by the [district court]”:

        The court concludes that the some [sic] of the images submitted by the Government
        are sufficient to qualify for this enhancement, particularly those showing adults
        engaging in vaginal or anal intercourse with prepubescent minors. The court
        concludes that one or more such depictions in this case portrays “sadistic conduct”
        within the meaning of the guideline, in that the depictions include and are intended
        to portray the infliction of pain and humiliation on very young minor victims as a
        means of giving sexual gratification to individuals with pedophilic tendencies.

United States v. Kimler, 335 F.3d at 1143 (alteration in original). The Tenth Circuit also concluded

that expert testimony was not necessary to justify an enhancement under U.S.S.G. § 2G2.2(b)(4) --

then U.S.S.G. § 2G2.2(b)(3):

                 Kimler next contends that the district court erred in enhancing his sentence
        for sadism without expert testimony on the matter. Kimler cites no case in support
        of this argument. To the contrary, the Fifth and Eleventh Circuits have held that
        expert testimony is not required to justify an enhancement under 2G2.2(b)(3).
        United States v. Lyckman, 235 F.3d 234, 239 n. 22 (5th Cir. 2000)(“One hardly
        requires a medical degree to ascertain that vaginal intercourse with an adult male
        would involve pain, both physical and emotional, for a young girl.”); United States
        v. Caro, 309 F.3d 1348, 1352 (11th Cir. 2002)(“[W]e hold that the district court erred
        in its interpretation that, in order to support a sadistic conduct enhancement, the
        government is required to present expert medical testimony.”); see also United States
        v. Delmarle, 99 F.3d 80, 83 (2d Cir. 1996)(holding that “it was within the court’s
        discretion to conclude that the subjection of a young child to a sexual act that would
        have to be painful is excessively cruel and hence is sadistic within the meaning of
        2G2.2(b)(3)”). We agree with those authorities, and conclude that expert testimony
        was not required.

United States v. Kimler, 335 F.3d at 1143-44. The Tenth Circuit similarly concluded that expert

evidence is not automatically required to determine if the children depicted in images are

prepubescent if “[t]he images themselves provide[] sufficient evidence of prepubescence to support

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the sentence enhancement.” United States v. Kimler, 335 F.3d at 1144.

       In a later unpublished opinion, the Tenth Circuit reiterated some of the principles from

United States v. Kimler:

       In Kimler, we held that an image of an adult sexually penetrating a prepubescent
       child portrays conduct from which a court can presume that pain and humiliation
       were inflicted upon the child as a means to give sexual gratification to the viewer of
       the image and, thus, is inherently sadistic or violent for purposes of § 2G2.2(b)(4).
       Contrary to Batres’s arguments, there is no further burden on the part of the
       Government to prove that the adult in the image derived sexual pleasure from the act.
       We also reject Batres’s argument that the facial expressions of the child victims or
       the staging of the photograph to present these heinous acts in a “positive light” is
       relevant to the inquiry. Once the district court has found that the images depict the
       sexual penetration of young children by adults, the enhancement may be properly
       applied.

United States v. Batres, 284 F.App’x 584, 586 (10th Cir. 2008)(unpublished)(citations omitted).

The Tenth Circuit did not specify in United States v. Batres what form of penetration was involved

in the images in question. See 284 F.App’x at 284-86. The United States Court of Appeals for the

Fifth Circuit has held that, in a case involving oral-genital sexual penetration as well as other

penetrations, “penetration of the orifices of prepubescent children” was sufficient to “portray sexual

violence and masochistic conduct”:

              In the presentence report (PSR), the probation officer concluded that the
       images forming the bases for counts 1 and 2 warranted the § 2G2.2(b)(3) four-level
       increase. The image in count 1 depicts a nude female minor, hanging upside down
       while engaging in oral sex with two adult males; in count 2, sexual intercourse with
       a nude adult male. Over Terry’s objections, the district court adopted the PSR’s
       findings and conclusions. The court reasoned that the penetration of a child
       amounted to torture, as well as sadistic and masochistic conduct.

               Terry claims the § 2G2.2(b)(3) increase was not warranted, absent evidence
       the children were being tortured or otherwise made to suffer pain. The district court
       did not clearly err in finding that the photographs -- depicting penetration of the
       orifices of prepubescent children -- portray sexual violence and sadistic and
       masochistic conduct.

               The contention that application of the enhancement constitutes “double

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       enhancement”, because the depiction of “prepubescent children engaged in sexual
       acts with adult males is what made the photographs pornographic in the first place”,
       is without merit. Obviously, child pornography can depict sexually explicit conduct
       without also depicting sexual penetration.

United States v. Terry, 233 F.3d 574, 2000 WL 1468662, at *1-2 (5th Cir. 2000)(unpublished table

decision). The United States Court of Appeals for the Eighth Circuit has held that “images of an

adult attempting” anal or vaginal penetration of a minor girl by an adult male is “per se sadistic or

violent”:

       This circuit recently ruled that images involving the sexual penetration of a minor
       girl by an adult male and images of an adult male performing anal sex on a minor
       girl or boy are per se sadistic or violent within the meaning of U.S.S.G.
       § 2G2.2(b)(3). Today, we hold that images of an adult attempting such acts are
       likewise “sadistic” or “violent” for the purpose of U.S.S.G. § 2G2.2(b)(3). Such
       images portray conduct sufficient to presume the infliction of mental or physical
       coercion or abuse upon a minor. They also bespeak a sadistic intent to achieve
       sexual pleasure through the necessarily violent depiction of a minor as either a sexual
       object ripe for or deserving of sexual exploitation, or as a sexual subject desirous of
       and complicit in his or her own sexual exploitation.

United States v. Belflower, 390 F.3d 560, 562 (8th Cir. 2004).

       U.S.S.G. § 2G2.2(b)(5) provides: “If the defendant engaged in a pattern of activity involving

the sexual abuse or exploitation of a minor, increase by 5 levels.” U.S.S.G. § 2G2.2(b)(5).

Application note 1 to this guideline provides:

              “Pattern of activity involving the sexual abuse or exploitation of a minor”
       means any combination of two or more separate instances of the sexual abuse or
       sexual exploitation of a minor by the defendant, whether or not the abuse or
       exploitation (A) occurred during the course of the offense; (B) involved the same
       minor; or (c) resulted in a conviction for such conduct.

U.S.S.G. § 2G2.2 cmt. n.1. This application note also provides:

               “Sexual abuse or exploitation” means any of the following: (A) conduct
       described in 18 U.S.C. § 2241, § 2242, § 2243, § 2251(a)-(c), 2251(d)(1)(B),
       § 2251A, § 2260(b), § 2421, § 2422, or § 2423; (B) an offense under state law, that
       would have been an offense under any such section if the offense had occurred
       within the special maritime or territorial jurisdiction of the United States; or (c) an

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       attempt or conspiracy to commit any of the offenses under subdivisions (A) or (B).
       “Sexual abuse or exploitation” does not include possession, accessing with intent to
       view, receipt, or trafficking in material relating to the sexual abuse or exploitation
       of a minor.

U.S.S.G. § 2G2.2 cmt. n.1.

                      RELEVANT LAW REGARDING RESTITUTION

       Courts have no inherent power to order restitution; they may only do so when a statute so

authorizes. See United States v. Gordon, 480 F.3d 1205, 1210 (10th Cir. 2007). 18 U.S.C. § 2259

mandates that a district court order a defendant to pay a “victim,” defined as an “individual harmed

as a result of a commission of a crime under this chapter,” 18 U.S.C. § 2259(c), “the full amount of

the victim’s losses,” id. § 2259(b)(1). The victim’s losses include:

       For purposes of this subsection, the term “full amount of the victim’s losses”
       includes any costs incurred by the victim for --

               (A)     medical services relating to physical, psychiatric, or psychological
                       care;

               (B)     physical and occupational therapy or rehabilitation;

               (C)     necessary transportation, temporary housing, and child care expenses;

               (D)     lost income;

               (E)     attorneys’ fees, as well as other costs incurred; and

               (F)     any other losses suffered by the victim as a proximate result of the
                       offense.

18 U.S.C. § 2259(b)(3)(A)-(F). “An order of restitution under [18 U.S.C. § 2259] shall be issued

and enforced in accordance with section 3664 in the same manner as an order under section 3663A.”

18 U.S.C. § 2259(b)(2).

       18 U.S.C. § 3663A is part of the Mandatory Victim’s Restitution Act, 18 U.S.C. § 3663A

(“MVRA”). The MVRA made restitution mandatory in certain cases, “particularly crimes of

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violence and theft crimes with identifiable victims who ‘suffered a physical injury or pecuniary

loss.’” United States v. Serawop, 505 F.3d 1112, 1117 (10th Cir. 2007)(citing 18 U.S.C.

§ 3663A(c)(1)). “[T]he MVRA does not permit a court to consider a defendant’s economic

circumstances when it imposes restitution.” United States v. Harwood, No. 10-2737, 2012 WL

592421, at *15 (D.N.M. Feb. 13, 2012)(Browning, J.)(citing United States v. Serawop, 505 F.3d at

1118). The term “victim,” under the MVRA means:

       a person directly and proximately harmed as a result of the commission of an offense
       as a result of the commission of an offense for which restitution may be ordered . . . .
       In the case of a victim who is under 18 years of age, incompetent incapacitated, or
       deceased, the legal guardian of the victim or representative of the victim’s estate,
       another family member, or any other person appointed as suitable by the court, may
       assume the victim’s rights under this section, but in no event shall the defendant be
       named as such representative or guardian.

18 U.S.C. § 3663A(a)(2). Any dispute “as to the proper amount or type of restitution shall be

resolved by the court by the preponderance of the evidence” and the “burden of demonstrating the

amount of loss shall be on the attorney for the Government.” 18 U.S.C. § 3664(e). Accord United

States v. Serawop, 505 F.3d at 1117 (stating that the United States bears the burden of proving

amount of loss under the MVRA). To the extent that the defendant’s financial resources are relevant

in the restitution analysis, such as when a restitution award is not mandatory, the burden of

demonstrating the defendant’s financial resources and the financial needs of the defendant’s

dependents is on the defendant. See 18 U.S.C. § 3664(e) (“The burden of demonstrating the

financial resources of the defendant and the financial needs of the defendant’s dependents, shall be

on the defendant.”). “The burden of demonstrating such other matters as the court deems

appropriate shall be upon the party designated by the court as justice requires.” 18 U.S.C. § 3664(e).

                                            ANALYSIS

       The Court will overrule many of Christy’s objections to the Re-Disclosed PSR on the basis

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that: (i) the USPO has corrected information in the Re-Disclosed PSR to account for his objections;

(ii) the parties reached a compromise at the sentencing hearing regarding some of the statements

Christy found objectionable; and (iii) there is sufficient evidence to support a finding by a

preponderance of the evidence that certain facts Christy finds objectionable have occurred.

Furthermore, Christy did not pursue many of his factual objections at the sentencing hearing, and,

rather than ruling on those objections, the Court will disregard certain facts he finds objectionable

when arriving at his sentence. The Court concludes that a 2-level enhancement under U.S.S.G.

§ 2G1.3(b)(2) is appropriate, given that Christy has not presented evidence to rebut the rebuttable

presumption of undue influence. The Court finds that a 2-level enhancement under U.S.S.G.

§ 2G1.3(b)(4) is appropriate, because Christy engaged in sexual contact with Doe -- a victim of the

offense -- within the meaning of U.S.S.G. § 2G1.3(b)(4). The Court concludes that a 4-level

enhancement under U.S.S.G. § 2G2.2(b)(4) is not appropriate, given that the child pornography

image in question is not sadistic or masochistic. The Court concludes that a 5-level enhancement

under U.S.S.G. § 2G2.2(b)(5) is appropriate, given that Christy engaged in a pattern of activity

involving the sexual abuse or exploitation of a minor. While the Court concludes that no amount

of restitution is appropriate for Vicky given the lack of causation and lack of proof of her damages,

the parties’ stipulation to $500.00 in restitution relieves the United States of the burden of proving

that this restitution amount is appropriate. The Court sentences Christy, as to Counts 1 and 2, to

108-months imprisonment and a lifetime term of supervised release, because that sentence best

reflects the factors contained in 18 U.S.C. § 3553(a).




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I.     THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS TO THE FACTUAL
       PORTION OF THE RE-DISCLOSED PSR, BUT WILL MAKE SOME
       MODIFICATIONS TO THE RE-DISCLOSED PSR’S RECITATION OF THE
       FACTS CONSISTENT WITH THE PARTIES’ AGREEMENT AND WILL NOT
       CONSIDER OTHER FACTS WHEN SENTENCING CHRISTY.

       The Court notes that, as a threshold manner, Christy did not pursue many of his objections

to the factual portions of the Re-Disclosed PSR at his sentencing hearing. Rule 32 provides that a

court must, at sentencing, “for any disputed portion of the presentence report or other controverted

matter -- rule on the dispute or determine that a ruling is unnecessary either because the matter will

not affect sentencing, or because the court will not consider the matter in sentencing.” Fed. R. Crim.

P. 32(i)(3)(B). To invoke a district court’s rule 32 fact-finding obligation, a defendant is required

to make “specific allegations” of factual inaccuracy. United States v. Rodriguez-Delma, 456 F.3d

at 1253. Defendants have “an affirmative duty to make a showing that the information in the PSR

was unreliable and articulate the reasons why the facts contained therein [were] untrue or

inaccurate.” United States v. Rodriguez-Delma, 456 F.3d at 1253. “The fact that a defendant has

objected to the ultimate conclusions drawn by the PSR, however, does not necessarily imply that

a ‘controverted matter’ exists.” United States v. Rodriguez-Delma, 456 F.3d at 1253.

       A.      THE COURT WILL OVERRULE CHRISTY’S OBJECTION TO THE
               CUSTODIAL STATUS PORTION OF THE RE-DISCLOSED PSR.

       In his Objections, Christy “objects to the characterization, under the heading ‘Custodial

Status,’ of the first 209 days of Defendant’s confinement as ‘state custody,’” on the basis that “this

investigation has at all times been a federal investigation.” Objections at 1.4 In the Second

Addendum to PSR, the USPO makes some of Christy’s requested changes regarding how much time

he spent in state custody, but maintains that Christy spent time in state custody. See Second


       4
        Christy did not pursue this objection at the sentencing hearing on May 23, 2012.

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Addendum to PSR at 2. Ultimately, this matter has no impact on the Court’s sentence, and a ruling

on this objection is unnecessary. See Fed. R. Crim. P. 32(i)(3)(B) (relating that a district court can

“rule on the dispute or determine that a ruling is unnecessary either because the matter will not affect

sentencing”). Alternatively, the Court will overrule the objection, because the mere fact that federal

investigators played a dominant role in the prosecution does not change the underlying fact that

Christy spent some time in state custody. It is important to emphasize that Christy does not object

to the calculation of his credit in the Re-Disclosed PSR, but rather the characterization of some of

his time in confinement as state custody.

       B.      THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS REGARDING
               THE PORTIONS OF THE RE-DISCLOSED PSR THAT PROVIDE
               BACKGROUND FACTS REGARDING RESTITUTION.

       Christy objects to various statements in the PSR regarding the restitution he owes given that

he has already stipulated “to pay the sum of $500.00 restitution for the alleged victims in Count 2

of the information.” Objections at 1-2, 9. To invoke a district court’s rule 32 fact-finding

obligation, a defendant is required to make “specific allegations” of factual inaccuracy. United

States v. Rodriguez-Delma, 456 F.3d at 1253. Christy makes no allegations that the statements in

the Re-Disclosed PSR regarding restitution calculations are inaccurate as a factual matter or are

inaccurate recitations of the proper amount of restitution specified by statute or under the guidelines.

That he has stipulated to a particular amount of restitution does not mean that these portions of the

Re-Disclosed PSR are factually or legally inaccurate. He has made no argument that they are

factually or legally inaccurate. A court has the obligation to consider the relevant statutes and

guideline computations when arriving at a defendant’s sentence. See Kimbrough v. United States,

552 U.S. 85, 564 (2007)(“A district judge must include the Guidelines range in the array of factors

warranting consideration.”). Thus, it is proper for the Court to have this information regarding

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restitution, which is largely background information, before it.

       C.      THE COURT WILL OVERRULE CHRISTY’S OBJECTION REGARDING
               THE LOCATION OF HIS CONFINEMENT IN A HALFWAY HOUSE AS
               MOOT.

       Christy objects to a statement in paragraph 6 of the PSR that he was placed in a halfway

house in Las Cruces, New Mexico as factually inaccurate. See Objections at 2. As the USPO states

in the Second Addendum to PSR, it has made Christy’s requested change regarding the halfway

house in which he lived. See Second Addendum to PSR at 6. Consequently, because the USPO has

made Christy’s requested change, the objection is now moot. The Court will overrule this objection

as moot.

       D.      THE COURT WILL OVERRULE CHRISTY’S OBJECTION TO THE
               STATEMENTS IN PARAGRAPH 8 AND 10 OF THE RE-DISCLOSED PSR
               THAT SOME PHOTOGRAPHS HE EXCHANGED WITH DOE WERE
               SEXUALLY EXPLICIT.

       Christy objects to “the statements contained in paragraph 8 of the presentence report insofar

as it states that emails and pictures exchanged between Mr. Christy” and Doe were “sexually

explicit.” Objections at 2. Similarly, Christy “objects to the statement at the end of paragraph 10,

which characterizes the photographs and conversations between Mr. Christy and Jane Doe as

sexually explicit,” because “[a]lthough the pictures depicted nudity, none were sexually explicit, and

though the conversations contained discussions of Jane Doe’s desire to establish a

dominant/submissive relationship with an older man, none described sexual acts.” Objections at 3.

       In his Plea Agreement, Christy stipulates: “I engaged in sexual conversations with Jane Doe,

a person I knew to be 16 years of age. These sexual conversations between Jane Doe and myself

included the exchange of sexually explicit images of each other and discussions about sexual

activities between the two of us.” Plea Agreement ¶ 10, at 6. A preponderance-of-the-evidence


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standard applies at sentencing. See United States v. Manatau, 647 F.3d 1048, 1054 n.2 (10th Cir.

2011)(noting that the preponderance-of-the-evidence standard applies during sentencing); United

States v. Gomez-Arrellano, 5 F.3d 464, 466 (10th Cir. 1993)(“Sentencing determinations of relevant

conduct and offense characteristics must be supported by a preponderance of the evidence.”). When

a defendant admits to facts in a plea agreement, the Court can properly rely on those admissions to

conclude that, by a preponderance of the evidence, a given fact occurred. See United States v.

Sanders, 990 F.2d 582, 585 (10th Cir. 1993)(“The district court could properly have found by a

preponderance of the evidence that defendant possessed the guns in connection with his drug

trafficking as he admitted in his written plea statement.”), overruled on other grounds by United

States v. Gomez-Arrellano, 5 F.3d 464, 466-67 (10th Cir. 1993). Given that Christy has admitted

to these facts in his Plea Agreement, there is sufficient evidence to find that these photographs were

sexually explicit by a preponderance of the evidence. Furthermore, he provides no explanation,

beyond a conclusory assertion that the photographs are not sexually explicit, explaining why they

are not sexually explicit. See Objections at 3 (stating that “[a]lthough the pictures depicted nudity,

none were sexually explicit”). To invoke a district court’s rule 32 fact-finding obligation, a

defendant is required to make “specific allegations” of factual inaccuracy. United States v.

Rodriguez-Delma, 456 F.3d at 1253. Thus, the Court will overrule the objection regarding the

sexually explicit nature of the photographs.

       Regarding the electronic-mail-transmission discussions that Christy had with Doe, he does

not dispute that sexual conversations occurred. Rather, he disputes that the conversations were

sexually explicit. He argues that, “[a]lthough the pictures depicted nudity, none were sexually

explicit, and though the conversations contained discussions of Jane Doe’s desire to establish a

dominant/submissive relationship with an older man, none described sexual acts.” Objections at 3.

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His argument is largely a semantical one given that he does not deny the existence of the electronic

mail transmissions. He has stipulated in the Plea Agreement that he had “sexual conversations” with

Doe that involved “discussions about sexual activities between the two of us.” Plea Agreement ¶ 10,

at 6. Ultimately, whether the conversations were sexually explicit has no impact on the Court’s

sentence, and a ruling on this objection is unnecessary. See Fed. R. Crim. P. 32(i)(3)(B) (relating

that a district court can “rule on the dispute or determine that a ruling is unnecessary either because

the matter will not affect sentencing”).

       E.      CONSISTENT WITH THE PARTIES’ AGREEMENT AT THE
               SENTENCING HEARING, THE COURT WILL MODIFY THE RE-
               DISCLOSED PSR REGARDING THE FACTS DISCUSSING WHEN
               CHRISTY BECAME AWARE OF DOE’S AGE.

       Christy “objects to the suggestion, contained in paragraph 8, that Mr. Christy was aware of

the female’s true age at the time the emails and photos were exchanged.” Objections at 2. Christy

similarly

       objects to the statement in paragraph 30 of the PSR that ‘In sum, Mr. Christy
       communicated with Jane Doe (juvenile female) for two months via email and online
       chats, knowing she was a minor.”, [sic] as this statement is a total fabrication,
       demonstrably untrue, if one makes a mere cursory examination of the emails
       exchanged and evidence in this case, i.e., that the sites on which Mr. Christy
       encountered “Jane Doe” required a registrant to be at least eighteen years of age, that
       “Jane Doe’s” profiles on these sites all listed her age as being at least that old, and
       that no indication of her true age occurred until November 3, 2009.

Objections at 8. At the sentencing hearing on May 23, 2012, the parties then came to an agreement

to modify the Re-Disclosed PSR to state that Christy knew that Doe was sixteen before he left to

pick her up in California and to omit any reference to when he specifically became aware of her age.

See Tr. at 13:12-20 (Kastrin, Court, McMillian). In light of the parties’ agreement to modify the Re-

Disclosed PSR in this manner, this objection is now moot. Thus, the Court will overrule this

objection as moot.

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       F.      THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS REGARDING
               THE CIRCUMSTANCES BEHIND HIS MEETING WITH DOE.

       Christy “objects to the statement contained in paragraph 9 that ‘Mr. Christy had arranged a

meeting with Jane Doe (juvenile female), in the middle of the night, for Jane Doe (juvenile female)

to run away with Mr. Christy,’” because Doe “threatened to harm herself if Mr. Christy did not come

get her.” Objections at 2. The Court has already found the following fact by a preponderance of

the evidence: “Through the course of an interview [with a police officer], Christy told [the officer]

how he and K.Y. made plans for him to go get her . . . .” Memorandum Opinion and Order ¶ 101,

at 17, filed May 18, 2011 (Doc. 120)(“May 18, 2011 MOO”). The Court also found:

       In her interview with an FBI special agent, K.Y. stated that she met Christy over the
       internet and that, after two or three communications, she told Christy her real age;
       she described them making plans for him to get her, and stated that they had sex in
       Needles and in Albuquerque.

May 18, 2011 MOO ¶ 112, at 18. Thus, regarding the majority of this statement in paragraph 9 of

the Re-Disclosed PSR, the Court has already concluded that the conduct occurred by a

preponderance of the evidence. Christy has not argued that the remaining details of the statement

are factually inaccurate -- that he picked Doe up in the middle of the night or that she ran away with

him. To invoke a district court’s rule 32 fact-finding obligation, a defendant is required to make

“specific allegations” of factual inaccuracy. United States v. Rodriguez-Delma, 456 F.3d at 1253.

Defendants have “an affirmative duty to make a showing that the information in the PSR was

unreliable and articulate the reasons why the facts contained therein [were] untrue or inaccurate.”

United States v. Rodriguez-Delma, 456 F.3d at 1253.

       Christy largely presents a mitigating circumstance for his conduct. He does not argue that

the Re-Disclosed PSR’s statement in paragraph 9 is factually inaccurate. The Court has already

found that Christy stated “that he felt bad for [Doe], and made a snap decision to go help her and/or

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rescue her.” May 18, 2011 MOO ¶ 99, at 17. “The fact that a defendant has objected to the ultimate

conclusions drawn by the PSR, however, does not necessarily imply that a ‘controverted matter’

exists.” United States v. Rodriguez-Delma, 456 F.3d at 1253. The Court will consider this

mitigating circumstance when arriving at its sentence for Christy. Thus, the Court will overrule the

objection.

       G.      THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS REGARDING
               HOW MANY OFFICERS LOOKED IN THE WINDOW OF HIS HOME AS
               MOOT.

       Christy “objects to the statement in paragraph 9 that ‘deputies’ looked through a window,

and requests that the statement be changed to reflect the actual truth, that only Deputy Littlefield

looked through a crack in the blinds of a window, and no one else.” Objections at 2. Christy objects

to a similar statement in paragraph 15 of the PSR. See Objections at 3.5 In the Second Addendum

to PSR, the USPO relates that it has made Christy’s requested changes regarding the number of

deputies who looked through the window. Second Addendum to PSR at 6. Thus, given that the

USPO has made Christy’s requested change, his objection is moot. Consequently, the Court will

overrule his objection.

       H.      THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
               OBJECTION REGARDING THE MANNER IN WHICH THE OFFICERS
               FOUND DOE IN HIS HOME.

       Christy “further objects to the statement in paragraph 9 that the female ‘was tied up by her

wrist, and neck with straps, and was hanging from ceiling rafters,’” because this statement does not

accurately reflect what occurred. Objections at 3.6 He argues that this statement is “patently



       5
        Christy did not pursue these objections at the sentencing hearing on May 23, 2012.
       6
        Christy did not pursue this specific objection at the sentencing hearing on May 23, 2012.

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untrue,” given that Doe “was standing with her feet on the floor, with nothing touching her neck,

and had padded velcro ‘cuffs’ on her wrists, but was not suspended, and was completely free to

move around or remove the cuffs at will.” Objections at 3. The Court considers this fact to be a

peripheral one given that there is no dispute that Doe consensually engaged in sexual activities with

Doe. See May 18, 2011 MOO at 50 (noting that Doe “was able to consent to sexual contact under

New Mexico law”). Christy’s conduct may have otherwise been illegal, but his sexual acts with Doe

were consensual. Consequently, this matter will not affect the sentence the Court will impose on

Christy. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule on the dispute”

regarding a fact in a presentence investigation report, a court can “determine that a ruling is

unnecessary either because the matter will not affect sentencing, or because the court will not

consider the matter in sentencing”). Thus, it is not necessary to rule on this objection.

       I.      THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS REGARDING
               THE CHATROOM CONVERSATIONS THAT HE HAD WITH MINORS.

       Christy “objects to the statement in paragraph 9 that he ‘had been actively using the Yahoo

chat service since early 2003, to meet young girls and develop a relationship,’” because the

statement “implies that Mr. Christy sought out young girls for improper purposes, when, in fact, Mr.

Christy did communicate with numerous persons on the Yahoo chat service, of unknown gender and

age, none of which Mr. Christy ever met personally, and none of whose actual identities have been

established.” Objections at 3. Christy makes a variety of other similar objections. Christy also

argues that no “minors [have] been actually identified with whom Mr. Christy had sexual

conversations on the internet.” Objections at 9. Christy objects to the “entire contents of paragraph

34, as all such conversations were ‘roll playing,’ in which Mr. Christy attempted to identify persons

in chat rooms by assuming the rolls that they, themselves led,” because “[n]one of this behavior is


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‘offensive behavior,’ as no minor has ever actually been identified as the recipient of any of these

communications.” Objections at 9. Christy “makes the same objection to paragraph 35, as to

paragraph 34, for the same reasons.” Objections at 9.

       Earlier in this proceeding, the United States presented to the Court a variety of chatroom

conversations in which Christy engaged. See Memorandum Opinion and Order at 5-7, filed June

28, 2010 (Doc. 21)(“June 28, 2010 MOO”)(“The voluminous chat transcripts the forensic examiner

recovered include sexual conversations between Christy and other, including some identifying

themselves as minors.”). The Court relied on that evidence to detain Christy before trial:

              Moreover, the evidence the United States presented -- both the evidence of
       Christy’s actions with Jane Doe and his internet chats -- show that Christy is a person
       who has an ongoing sexual interest in children and is willing to act on such interest.
       The degree of harm and the length of time over which Christy has engaged in such
       behavior renders him a danger to the community. By his admission, Christy has
       engaged in multiple acts of hands-on victimization of children. In the internet chat
       from August 26, 2009, Christy stated that he had sexual relations with a twelve-year
       old boy within the last few months and contains statements suggesting he was
       grooming a twelve-year old girl down the street “who has a bit of a crush on [him].”
       United States Exhibit 8. Christy’s admissions cause the Court great concern about
       the degree of harm he is capable of causing to the community. Christy suggests that
       much of his chat involves fantasy. That characterization may be fair for some
       statements, but he has not denied that he has had sex with multiple under-aged
       children. In the face of these unretracted and uncontested admissions, the Court
       concludes that the record shows, by clear-and-convincing evidence, that Christy
       poses a threat of continuing to groom and molest children.

                To some degree, the third factor weighs against detention. Christy has no
       criminal history and has some family ties to the community. Since his arrest,
       however, he has lost his employment. He has no wife or children and his sister, who
       testified on his behalf, had no knowledge of Christy’s actions until she read about
       them in a newspaper. While the Court recognizes that Christy has no criminal
       history, the seized evidence indicates that Christy has a history of enticing children,
       and has no criminal history only because he has avoided being caught. Christy is an
       intelligent man, with a degree in engineering, and his actions indicate that he is a
       calculating and manipulative man. He carefully planned his actions with Jane Doe,
       instructed her on how not to be detected, and concocted a cover story of a suicide
       attempt for her to use.


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June 28, 2010 MOO at 13-14.

       The United States does not have the obligation to prove facts beyond a reasonable doubt at

sentencing, but only by a preponderance of the evidence. See United States v. Manatau, 647 F.3d

at 1054 n.2. Given that there are various chatroom conversations available where the people with

which Christy was communicating self-identified as minors, there is sufficient evidence for the

Court to find by a preponderance of the evidence that Christy has been communicating with minors.

It is not necessary that the United States prove the individual identity of each person Christy spoke

with for the Court to reach this conclusion. Requiring them to assume such a burden would be akin

to requiring the United States to prove these facts beyond a reasonable doubt. Furthermore, the

statement in the Re-Disclosed PSR relates that Christy wanted to meet young girls and develop a

relationship. See Re-Disclosed PSR ¶ 9, at 6-7. It says nothing about whether Christy had an

inappropriate purpose for engaging in this conduct. In light of other facts in the Re-Disclosed PSR,

one may be able to use this fact to draw that inference, but nothing in this statement relates that

Christy had an improper purpose in developing these relationships. To invoke a district court’s rule

32 fact-finding obligation, a defendant is required to make “specific allegations” of factual

inaccuracy. United States v. Rodriguez-Delma, 456 F.3d at 1253. Defendants have “an affirmative

duty to make a showing that the information in the PSR was unreliable and articulate the reasons

why the facts contained therein [were] untrue or inaccurate.” United States v. Rodriguez-Delma,

456 F.3d at 1253. Furthermore, there is significant evidence before the Court supporting a

conclusion by a preponderance of the evidence that Christy, in light of the sexual nature of these

chatroom conversations, wanted to develop sexual relationships, at least over the internet, with these

minors. The USPO provides illustrative examples from Christy’s chatroom conversations that

indicate that Christy has an interest in developing sexual relationships through chatroom

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conversations:

               In July 2009, Mr. Christy discussed sexual matters with a 12 year old, stating
       he was “not far away by plane.” During the same conversation, Mr. Christy admitted
       he had a ‘neighborhood girl’ as his “playmate,” claiming her grandfather didn’t
       know. Mr. Christy further admitted he liked younger than 12 and would go “9 to 10
       year olds.” In a chat from July 23, 2009, the Defendant discussed being “lovers”
       with his wife and daughter, if he had one. In this same chat, Mr. Christy discusses
       with someone that if he lived with her and her child, he (Mr. Christy) would [be] able
       to teach her baby, specifically stating “you have a fresh daughter.” In another, dated
       on August 23, 2009, Mr. Christy stated “I’d always thought when my daughter first
       fed from her mother that I would masturbate and put cum on her nipple so I could
       nourish my girl too.” He further states “I’d want us all to sleep in one bed with no
       barriers. Daddy’s cock should be pacifying to his kids. They should feel safe and
       secure and loved sucking him fall to sleep with his cock in their mouth.”
       Additionally, in a chat from August 24, 2009, the Defendant admitted he is “drawn
       to open sex in his own family,” and added that children who have sexual
       relationships in their own families are “more balanced than most.” Mr. Christy also
       acknowledged that “even though he is more drawn to girls, his sons would know him
       sexually too.” In a chat dated August 26, 2009, Mr. Christy admitted to performing
       sex on a 12 year old neighborhood boy within the last three months, and a 14 year
       old girl a few years ago.

Re-Disclosed PSR ¶ 34, at 13-14. Consequently, the Court will overrule this objection.

       J.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION REGARDING ALLEGED CAMERA-LIKE FLASHES
                 OFFICERS REPORT THAT THEY SAW IN HIS HOME.

       Christy “objects to the reference, in paragraph 15, to ‘camera-like’ flashes, as Deputy

Littlefield’s testimony was adamant in stating that he had seen camera flashes, in order to support

his assertion that child pornography was being produced.” Objections at 3.7 Christy makes no

assertion that the statement is factually inaccurate that this officer saw camera-like flashes. To

invoke a district court’s rule 32 fact-finding obligation, a defendant is required to make “specific

allegations” of factual inaccuracy.     United States v. Rodriguez-Delma, 456 F.3d at 1253.

Defendants have “an affirmative duty to make a showing that the information in the PSR was


       7
        Christy did not pursue this objection at the sentencing hearing on May 23, 2012.

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unreliable and articulate the reasons why the facts contained therein [were] untrue or inaccurate.”

United States v. Rodriguez-Delma, 456 F.3d at 1253. Ultimately, the Court considers this fact to

be a peripheral one in light of Doe engaging in consensual sex with Christy. The Court does not find

it necessary to rule on this objection given that it will not affect the Court’s ultimate sentence and

because the Court will not consider this fact, that there were camera-like flashes in Christy’s home

when officers approached the home, when sentencing Christy. See Fed. R. Crim. P. 32(i)(3)(B)

(stating that, as opposed to having to “rule on the dispute” regarding a fact in a presentence

investigation report, a court can “determine that a ruling is unnecessary either because the matter

will not affect sentencing, or because the court will not consider the matter in sentencing”).

       K.      THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
               OBJECTIONS REGARDING PARAGRAPH 17 OF THE RE-DISCLOSED
               PSR.

       Christy objects to references in paragraph 17 of the Re-Disclosed PSR to one of the

photographs Doe allegedly sent where she was posing nude, given that they are included “for shock

value” and to suggest that he “had something to do with the production of these photos.” Objections

at 3-4.8 Christy also relates that Doe had already sent these photos to another person and that Doe’s

sister took the pictures, such that “if these statements are to be accurate, they either have to include

the whole truth of the matter, or be entirely stricken.” Objections at 4. Christy also asserts that the

statement is not relevant, because he still believed that Doe was eighteen. Paragraph 17 of the Re-

Disclosed PSR relates:

       One of the photographs sent to Mr. Christy by Jane Doe (juvenile female) showed
       Jane Doe (juvenile female) posing nude with a ‘medicine ball’ inserted in her anus,
       and the other where Jane Doe (juvenile female) posed nude with her legs spread and
       held over her head, with her breasts exposed.


       8
        Christy did not pursue this specific objection at the sentencing hearing on May 23, 2012.

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Re-Disclosed PSR ¶ 17, at 9.

       Christy makes no assertion that the statement is inaccurate. To invoke a district court’s rule

32 fact-finding obligation, a defendant is required to make “specific allegations” of factual

inaccuracy. United States v. Rodriguez-Delma, 456 F.3d at 1253. Defendants have “an affirmative

duty to make a showing that the information in the PSR was unreliable and articulate the reasons

why the facts contained therein [were] untrue or inaccurate.” United States v. Rodriguez-Delma,

456 F.3d at 1253. Furthermore, nothing in this statement relates that Christy had anything to do with

producing child pornography materials. To the extent Christy argues that the statement is irrelevant,

this evidence falls within the definition of relevant conduct under the guidelines. U.S.S.G. § 1B1.3

defines relevant conduct as “all acts and omissions committed, aided, abetted, counseled,

commanded, induced, procured, or willfully caused by the defendant” which “occurred during the

commission of the offense of conviction, in preparation for that offense, or in the course of

attempting to avoid detection or responsibility for that offense.”         U.S.S.G. § 1B1.3(a)(1).

Ultimately, these facts, that Doe sent to Christy a photo showing her posing nude with a medicine

ball inserted in her anus, and that she sent him a photo where she was posing nude with her legs

spread and held over her head with her breasts exposed, is a peripheral one that the Court need not

consider in arriving at its sentence for Christy. Thus, this statement is not one that will affect the

Court’s sentence for Christy, and the Court will not consider it when sentencing Christy. See Fed.

R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule on the dispute” regarding a fact

in a presentence investigation report, a court can “determine that a ruling is unnecessary either

because the matter will not affect sentencing, or because the court will not consider the matter in

sentencing”).



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       L.      THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS TO
               PARAGRAPHS 18 AND 19 OF THE RE-DISCLOSED PSR.

       Christy “objects to the statements in paragraph 18 where in it is stated that Mr. Christy stated

that he had sex with the juvenile female twice, once in Needles, California, and once in

Albuquerque, New Mexico,” given that “any consensual acts between Mr. Christy and Jane Doe

which occurred in the State of New Mexico were legal acts, as the age of consent in New Mexico

is 16 years of age.” Objections at 4. Christy “objects to the statements in paragraph 19 of the PSR

which begin with Mr. Christy’s admission that he knew Jane Doe was sixteen years old on

November 6, 2009, and concluding with Mr. Christy’s alleged statement that ‘the emails between

him and Jane Doe (juvenile female) were normal,’” because the age of consent in New Mexico is

sixteen, making these statements misleading. Objections at 4-5. The relevant portions of paragraph

19 of the Re-Disclosed PSR are as follows:

       It should be noted the detective received a copy from the Westminster Police
       Department of an email, dated November 6, 2009, which showed that Mr. Christy
       knew Jane Doe (juvenile female) was 16 years old. When the detective confronted
       Mr. Christy as to the email sent by Mr. Christy to Jane Doe (juvenile female on
       November 6, 2009, titled “Just a Note,” he admitted knowing Jane Doe (juvenile
       female) was in fact 16. In Mr. Christy’s admissions, he also admitted he had
       performed oral sex on Jane Doe (juvenile female), having her touch and rub his
       penis, buying dog cages, and bondage items to satisfy Jane Doe’s (juvenile female)
       sexual fantasies. Mr. Christy admitted he had taken one picture of Jane Doe
       (juvenile female) while at his residence where she was in the kitchen making dinner
       wearing only underwear. When the detective informed Mr. Christy a search warrant
       would be executed at his residence, he advised that deputies would find photographs
       of his “nudist friends” on his computer. Mr. Christy further advised that the emails
       between him and Jane Doe (juvenile female) were normal.

Re-Disclosed PSR ¶ 19, at 9.

       Christy makes no argument that these statements are factually inaccurate. To invoke a

district court’s rule 32 fact-finding obligation, a defendant is required to make “specific allegations”

of factual inaccuracy. United States v. Rodriguez-Delma, 456 F.3d at 1253. Defendants have “an

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affirmative duty to make a showing that the information in the PSR was unreliable and articulate

the reasons why the facts contained therein [were] untrue or inaccurate.” United States v.

Rodriguez-Delma, 456 F.3d at 1253. While it is true that Doe was able to consent to sex in New

Mexico, Christy has pled guilty to conduct that would constitute several different sex-related

offenses under New Mexico law. The Information charges Christy, in Count 1, with the following:

               From on or about October 1, 2009 to on or about November 9, 2009, in
       Bernalillo County and elsewhere, in the District of New Mexico, the defendant
       EDWARD CHRISTY, knowingly persuaded, induced, enticed, and coerced Jane
       Doe to travel in interstate and foreign commerce to engage in any sexual activity for
       which the defendant could be charged with a criminal offense, that being Criminal
       Sexual Penetration in the Second Degree, in violation of N.M. Stat. Ann. § 30-9-
       11(E)(5), Contributing to the Delinquency of a Minor, in violation of N.M. Stat.
       Ann. § 30-6-3, and Unlawful Custodial Interference, in violation of N.M. Stat. Ann.
       § 30-4-4(c).

               In violation of 18 U.S.C. § 2422(a).

Information at 1. Christy pled guilty to Count 1 in the Plea Agreement. See Plea Agreement at 2.

More importantly, he conceded at the sentencing hearing that he knew, as of November 6, 2009 --

before he engaged in intercourse with Doe -- that she was sixteen. See Tr. at 7:20-8:2 (McMillian).

Furthermore, he stipulated in his Plea Agreement: “Between October 1, 2009 and November 9,

2009, I knowingly persuaded, induced, and enticed Jane Doe to travel in interstate commerce to

engage in any sexual activity for which I could be charged.” Plea Agreement ¶ 10, at 6. He also

stipulates that he “engaged in sexual conversations with Jane Doe, a person I knew to be 16 years

of age.” Plea Agreement ¶ 10, at 6.

       By pleading guilty to Count 1, Christy has admitted that those sexual encounters constitute

criminal conduct. In his Plea Agreement, he pled guilty to Count 1, charging him with a violation

of 18 U.S.C. § 2422(a). The Information related that Christy had engaged in conduct that would

violate several New Mexico statutes, including N.M.S.A. 1978, §§ 30-6-3 and 30-9-11(E)(5).

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N.M.S.A. 1978, § 30-6-3 provides:

               Contributing to the delinquency of a minor consists of any person committing
       any act or omitting the performance of any duty, which act or omission causes or
       tends to cause or encourage the delinquency of any person under the age of eighteen
       years.

               Whoever commits contributing to the delinquency of a minor is guilty of a
       fourth degree felony.

N.M.S.A. 1978, § 30-6-3 (emphasis added). N.M.S.A. 1978, § 30-9-11(E)(5) provides: “Criminal

sexual penetration in the second degree consists of all criminal sexual penetration perpetrated . . . in

the commission of another felony.” N.M.S.A. 1978, § 30-9-11(E)(5). N.M.S.A. 1978, § 30-6-3 is

a felony offense for which Christy admitted to conduct that would violate the statute. See N.M.S.A.

1978, § 30-6-3. Even if the age of consent in New Mexico is sixteen,9 Christy has still pled guilty

to conduct that would violate these other statutes.

       In light of Christy’s concessions and his admissions in the Plea Agreement, there is sufficient

evidence to conclude that Christy knew Doe was a minor before he engaged in sexual intercourse

with her. Thus, his argument that these factual statements in paragraphs 18 and 19 of the PSR are



       9
        The Court explained New Mexico’s age of consent in its May 18, 2011 MOO:

               New Mexico does not have a statute stating that a sixteen-year old can
       consent to sexual contact, but New Mexico’s statute regarding criminal sexual
       penetration states that criminal sexual penetration in the fourth degree consists of
       criminal sexual penetration “perpetrated on a child thirteen to sixteen years of age
       when the perpetrator is at least eighteen years of age and is at least four years older
       than the child and not the spouse of that child.” N.M.S.A. 1978, § 30-9-11G. New
       Mexico courts have interpreted this statute to mean that the victim must be at least
       thirteen but less than sixteen.

May 18, 2011 MOO at 60. Accordingly, while a defendant can legally, under New Mexico’s
criminal sexual penetration statute, have sex with an individual that is sixteen, the legal penetration
may violate other state statutes if the victim is less than eighteen. Christy has pled guilty to
engaging in sexual conduct that would violate other New Mexico statutes.

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irrelevant given that Doe was able to consent to sexual intercourse is not persuasive. His conduct

as related in paragraphs 18 and 19 of the PSR is relevant conduct, as it relates to the offenses to

which he has pled guilty. See U.S.S.G. § 1B1.3(a)(1).

       Christy also asserts that “it should be clear from the email in question, that Mr. Christy

attempted to call off the meeting after learning of Jane Doe’s true age” and that “this critical piece

of information needs to be included.” Objections at 5. Regarding this portion of his objection,

Christy is not objecting to any factual inaccuracy in the Re-Disclosed PSR, but is rather asking the

Court to consider a mitigating circumstance to give the incident more context. The Court will

consider this mitigating circumstance when arriving at its sentence for Christy.

       M.        THE COURT WILL OVERRULE CHRISTY’S OBJECTION TO THE RE-
                 DISCLOSED PSR’S ALLEGED FAILURE TO INCLUDE A STATEMENT
                 REGARDING DOE TAKING MEDICATION FOR DELUSIONAL
                 THINKING.

       Christy “objects to the failure to include the statement by Jane Doe during her interview with

the FBI that she took medication for ‘delusional thinking’ in any of the paragraphs relating to her

interview,” because this information bears on Doe’s credibility. Objections at 5.10 Christy offers

no evidence to support his assertion that this event occurred. A preponderance-of-the-evidence

standard applies at sentencing. See United States v. Manatau, 647 F.3d at 1054 n.2 (noting that the

preponderance-of-the-evidence standard applies during sentencing); United States v. Gomez-

Arrellano, 5 F.3d at 466 (“Sentencing determinations of relevant conduct and offense characteristics

must be supported by a preponderance of the evidence.”). If Christy wants to prove that this event

occurred, he has an obligation to do so by a preponderance of the evidence. He has not done so.

Thus, the Court will overrule his objection. The Court will, nevertheless, consider this argument


       10
            Christy did not pursue this objection at the sentencing hearing on May 23, 2012.

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as a mitigating circumstance during his sentencing.

       N.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION REGARDING THE PLACEMENT OF PARAGRAPHS 23
                 THROUGH 26 IN THE RE-DISCLOSED PSR.

       Christy “objects to the inclusion of all statements contained in paragraphs 23 through 26 in

the section of the PSR relating to the ‘Interview with K.Y.,’” because “all these statements relate

to the search of Mr. Christy’s residence and subsequent interviews with Jane Doe, and are not

properly part of the discussion of the FBI interview with Jane Doe.” Objections at 5.11 Christy

provides no explanation why the organization of the Re-Disclosed PSR has any impact on his

ultimate sentencing. The Court finds that the Re-Disclosed PSR’s organization has no bearing on

the sentence it will impose on Christy, so the Court does not find it necessary to rule on this

objection. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule on the

dispute” regarding a fact in a presentence investigation report, a court can “determine that a ruling

is unnecessary either because the matter will not affect sentencing, or because the court will not

consider the matter in sentencing”).

       O.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION REGARDING THE PLACEMENT OF A WEB CAM IN HIS
                 HOUSE AS DISCUSSED IN THE RE-DISCLOSED PSR.

       Christy objects to “the statement in paragraph 23 relating to Mr. Christy’s laptop being on

his desk, having a web cam positioned so that it was pointing at a harness sex

swing . . . approximately six feet from the computer.” Objections at 5.12 He asserts that this

statement “mischaracterizes the evidence, and creates the untruthful impression that Mr. Christy



       11
            Christy did not pursue this objection at the sentencing hearing on May 23, 2012.
       12
            Christy did not pursue this objection at the sentencing hearing on May 23, 2012.

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used the web came for any improper purpose, totally ignoring the fact that no images were ever

recovered . . . of any pictures taken with said web cam.” Objections at 5. This fact is a peripheral

one, particularly given the lack of evidence suggesting that Christy ever produced any child

pornography. The Court will not consider this statement in the Re-Disclosed PSR when arriving at

its sentence for Christy. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule

on the dispute” regarding a fact in a presentence investigation report, a court can “determine that a

ruling is unnecessary either because the matter will not affect sentencing, or because the court will

not consider the matter in sentencing”).

       P.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION REGARDING THE RE-DISCLOSED PSR’S DISCUSSION OF
                 THE WIRELESS ROUTER IN HIS HOME.

       Christy “objects to the statement in paragraph 23 that there was a wireless router on the desk,

and” that this arrangement “was suspicious because no other computer equipment could be located

in the residence that would be networked via said router,” given that “this statement ignores the

obvious fact that the laptop on the desk could be used . . . from any location in the house.”

Objections at 6.13 This fact is ultimately a peripheral one. The Court will not consider this statement

in the Re-Disclosed PSR when arriving at its sentence for Christy. See Fed. R. Crim. P. 32(i)(3)(B)

(stating that, as opposed to having to “rule on the dispute” regarding a fact in a presentence

investigation report, a court can “determine that a ruling is unnecessary either because the matter

will not affect sentencing, or because the court will not consider the matter in sentencing”).

       Q.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTIONS REGARDING SEVERAL ITEMS FOUND IN HIS HOME.

       Christy “objects to the statements in paragraph 24 wherein it stated that ‘Several sex toys


       13
            Christy did not pursue this objection at the sentencing hearing on May 23, 2012.

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which appeared to have been used, along with pornographic comics, were also located in the

bedroom,’” because “this describes matters which imply sexual conduct which, in New Mexico,

would not have been criminal.” Objections at 6. Christy “further objects to the reference to finding

a .45 caliber pistol in a safe, as” this conduct is legal and “is inserted herein only for its unfair

prejudicial value.” Objections at 6. Christy “objects to the inclusion, in paragraph 26, of the

statement that Mr. Christy inserted a ‘butt plug’ into Ms. Doe’s anus, as such statement was

contradicted by Doe’s own testimony before the grand jury in this case,” and because the conduct

“would have been legal under New Mexico law.” Objections at 6-7. Christy “objects to the

inclusion in paragraph 27 of the reference to ‘ten possible cartoon child pornography images . . . and

112 underage girls in sexually suggestive positions who were half-clothed, known to be child

erotica,” because “by definition, cartoons cannot be pornographic,” and the “reference to ‘112

underage girls . . . known to be child erotica’ should not be included because the possession of any

such images is not a crime and cannot be considered ‘relevant conduct’ for that reason.” Objections

at 7.14 All of these facts are peripheral ones that have minimal significance regarding the appropriate

sentence for Christy. Thus, the Court will not consider these facts when arriving at its sentence for

Christy. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule on the dispute”

regarding a fact in a presentence investigation report, a court can “determine that a ruling is

unnecessary either because the matter will not affect sentencing, or because the court will not

consider the matter in sentencing”).

       R.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION TO THE PHOTOGRAPH MENTIONED IN PARAGRAPH 27.

       Christy “further objects to the inclusion in paragraph 27 of any reference to ‘110109144.jpg’


       14
            Christy did not pursue these objections at the sentencing hearing on May 23, 2012.

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which was a close image of Jane Doe’s (juvenile female) vagina,” because “said image has not been

identified by any means, and because the image, if actually that of ‘Jane Doe,’ was transmitted to

Defendant prior to his finding out ‘Jane Doe’s’ true age.” Objections at 7.15 In light of the hundreds

of child pornography images attributable to Christy, this one photograph is not particularly

significant. Thus, the Court will not consider this photograph when arriving at its sentence for

Christy. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule on the dispute”

regarding a fact in a presentence investigation report, a court can “determine that a ruling is

unnecessary either because the matter will not affect sentencing, or because the court will not

consider the matter in sentencing”).16

       S.        THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS REGARDING
                 THE STATE PROCEEDINGS AGAINST HIM.

       Christy “objects to the inclusion of any of the matters contained in paragraph 29, as the

charges brought by the State of New Mexico were demonstrably untrue,” because Doe had told

officers that the sex was consensual and “because the sexual acts attributed to the Defendant in the

State of New Mexico were not criminal conduct.” Objections at 7. Christy further objects that his

“alleged statements at the end of paragraph 29 are simply not relevant for any purpose, as they do

not constitute a criminal act or indicate criminal intent, but are included simply for prejudicial

effect.” Objections at 7-8. Paragraph 29 provides:


       15
            Christy did not pursue this objection at the sentencing hearing on May 23, 2012.
       16
          The Court has already found that two images Christy and Doe exchanged with one another
were sexually explicit. The Re-Disclosed PSR does not readily identify the contents of the image
in paragraph 27 that Christy finds objectionable. To the extent that the image is one of the same
ones that Christy objected to as being sexually explicit, Christy did not dispute that those photos
existed, and the Court found they were sexually explicit. To the extent that this image mentioned
in paragraph 27 is different, the Court does not need to rely upon this image to find the other images
it discussed previously were sexually explicit.

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       As a result of this investigation, the State of New Mexico charged Mr. Christy with
       two counts of Criminal Sexual Penetration (Force/Coercion), Criminal Sexual
       Contact, four counts of Sexual Exploitation of Children, Contributing to the
       Delinquency of a Minor, and Custodial Interference (No Right Custody). On June
       1, 2010, the defendant was arrested by the Federal Bureau of Investigation for the
       instant offense, being transferred from state to federal custody. During transport,
       Mr. Christy stated he did not believe he was a danger to the community and believed
       the instant offense was “blown out of proportion.” The state case was dismissed on
       June 2, 2010, as the state speedy trial limits had expired.

Re-Disclosed PSR ¶ 29, at 12. Christy similarly “objects to the inclusion of the charges filed by the

State of New Mexico in this case in paragraph 81, Criminal History, Other Arrests, as this is the

same case, the agents of the State of New Mexico had no factual or legal basis for the Counts

charged,” and they “had affirmative knowledge that the charged conduct was not criminal under

New Mexico law.” Objections at 10.

       Regarding the state charges the State of New Mexico brought against him, the Re-Disclosed

PSR does no more than recount historical facts regarding those proceedings. It makes no comment

about the merits of those charges. Christy makes no argument that the historical fact that the State

of New Mexico brought those charges, or that he was arrested for those charges, is inaccurate. To

invoke a district court’s rule 32 fact-finding obligation, a defendant is required to make “specific

allegations” of factual inaccuracy.     United States v. Rodriguez-Delma, 456 F.3d at 1253.

Defendants have “an affirmative duty to make a showing that the information in the PSR was

unreliable and articulate the reasons why the facts contained therein [were] untrue or inaccurate.”

United States v. Rodriguez-Delma, 456 F.3d at 1253. Thus, the Court will overrule his objections

regarding the Re-Disclosed PSR’s recitation of the state charges against him.

       Regarding the comment Christy makes about “the instant offense” having been “blown out

of proportion,” Re-Disclosed PSR ¶ 29, at 12, the Court does not attribute any significance to that

statement given that Christy has now accepted responsibility for his conduct. That statement will

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not impact the Court’s consideration of the appropriate sentence for Christy. Thus, it is unnecessary

for the Court to rule on Christy’s objection. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as

opposed to having to “rule on the dispute” regarding a fact in a presentence investigation report, a

court can “determine that a ruling is unnecessary either because the matter will not affect sentencing,

or because the court will not consider the matter in sentencing”).

       T.      THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS REGARDING
               THE ALLEGATIONS OF GROOMING BEHAVIOR AGAINST HIM.

       Christy “objects to the entire contents of paragraph 33, as they are simply untrue” and “[n]o

allegation of molestation has been made, as referred to, and no ‘grooming’ behavior occurred.”

Objections at 8-9. Paragraph 33 provides:

       During the investigation by the FBI, they learned several past allegations were made,
       including one in which Mr. Christy molested a young girl, and one in which Mr.
       Christy was in the process of “grooming” two other girls. The officers uncovered
       hundreds of internet chats, including sexual conversations between Mr. Christy and
       minors. Due to the large number of chats, only the most egregious are outlined
       below.

Re-Disclosed PSR ¶ 33, at 13.

       The Court has already found, earlier in this Memorandum Opinion and Order, that there was

sufficient evidence to support a finding by a preponderance of the evidence that Christy engaged in

a large number of chatroom conversations with minors regarding sexual activity. Furthermore, the

Court has already had evidence about Christy’s grooming behavior presented to it earlier in this

proceeding:

                In a chat dated August 26, 2009, Christy admitted to having sexual relations
       with a twelve-year old boy within the last few months and with a fourteen-year old
       girl “a few years ago.” United States’ Exhibit 8. The United States represents that
       it has interviewed the boy, believed to be the one of whom Christy spoke, but the boy
       did not disclose. The boy described, however, how he would go on overnight scuba-
       diving trips with Christy, how Christy provided him movies to watch and gave him
       gifts, and how Christy provided him with wireless internet access. [Detective

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       Weylin] Proctor testified that behavior, like that which the boy described, is
       consistent with grooming behavior. Also in the chat dated August 26, 2009, Christy
       stated: “There is a 12 year old girl down the street who has a bit of a crush on me.
       [S]o I’m letting that just move at its own pace.”

                In the course of their investigation, Bernalillo County Sheriff’s deputies
       arranged a safe-house interview of a nine-year old girl who formally [sic] was a
       neighbor of Christy’s and with whom Christy had contact. This child described that,
       a few years ago, Christy touched her vaginal area through her clothing when she was
       at Christy’s residence sitting in front of his computer. The child’s fourteen-year old
       sister and fourteen-year old cousin were also safe-house interviewed, and, according
       to Proctor, described conduct by Christy that was consistent with grooming behavior.
       Specifically, Christy would regularly invite them over to swim in his hot tub, and
       take them on outings to the Hinkle Family Fun Center or to the McDonalds
       playground. They stated that Christy would kiss them on the lips, that he would pick
       them up in such a way that he would place his hands on their breasts, and that he
       would allow their legs to straddle him while he touched their buttocks.

June 28, 2010 MOO at 6-8 (footnote omitted)(citations omitted). The Court relied on this evidence

to detain Christy:

              Moreover, the evidence the United States presented -- both the evidence of
       Christy’s actions with Jane Doe and his internet chats -- show that Christy is a person
       who has an ongoing sexual interest in children and is willing to act on such interest.
       The degree of harm and the length of time over which Christy has engaged in such
       behavior renders him a danger to the community. By his admission, Christy has
       engaged in multiple acts of hands-on victimization of children. In the internet chat
       from August 26, 2009, Christy stated that he had sexual relations with a twelve-year
       old boy within the last few months and contains statements suggesting he was
       grooming a twelve-year old girl down the street “who has a bit of a crush on [him].”
       United States Exhibit 8. Christy’s admissions cause the Court great concern about
       the degree of harm he is capable of causing to the community. Christy suggests that
       much of his chat involves fantasy. That characterization may be fair for some
       statements, but he has not denied that he has had sex with multiple under-aged
       children. In the face of these unretracted and uncontested admissions, the Court
       concludes that the record shows, by clear-and-convincing evidence, that Christy
       poses a threat of continuing to groom and molest children.

                To some degree, the third factor weighs against detention. Christy has no
       criminal history and has some family ties to the community. Since his arrest,
       however, he has lost his employment. He has no wife or children and his sister, who
       testified on his behalf, had no knowledge of Christy’s actions until she read about
       them in a newspaper. While the Court recognizes that Christy has no criminal
       history, the seized evidence indicates that Christy has a history of enticing children,

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       and has no criminal history only because he has avoided being caught. Christy is an
       intelligent man, with a degree in engineering, and his actions indicate that he is a
       calculating and manipulative man. He carefully planned his actions with Jane Doe,
       instructed her on how not to be detected, and concocted a cover story of a suicide
       attempt for her to use.

June 28, 2010 MOO at 13-14. This evidence is sufficient to support a finding by a preponderance

of the evidence that the facts discussed in paragraph 33 of the PSR occurred. Thus, the Court will

overrule Christy’s objection.

       U.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION REGARDING WHETHER HE HAS SUBMITTED A
                 STATEMENT ACCEPTING RESPONSIBILITY.

       Christy “objects to the statement in paragraph 48 of the PSR that he has not made a statement

accepting responsibility, as such statement was made orally to the interviewer during the interview

in custody and with counsel, before the original disclosure was made.” Objections at 9.17 The Re-

Disclosed PSR applies a 3-level reduction for acceptance of responsibility, and the United States has

not disputed that a 3-level reduction for acceptance of responsibility is appropriate. Thus, no one

is disputing the issue that Christy has accepted responsibility. Accordingly, it is unnecessary for the

Court to rule on this objection, and the Court will not consider this statement in the Re-Disclosed

PSR during sentencing. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule

on the dispute” regarding a fact in a presentence investigation report, a court can “determine that a

ruling is unnecessary either because the matter will not affect sentencing, or because the court will

not consider the matter in sentencing”).

       V.        THE COURT DOES NOT FIND IT NECESSARY TO RULE ON CHRISTY’S
                 OBJECTION REGARDING HIS ALLEGED COCAINE USE.

       Christy “objects to the inclusion of the statement in paragraph 95 that he ‘used cocaine on


       17
            Christy did not pursue this objection at the sentencing hearing on May 23, 2012.

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a monthly basis for six months’ at the age of 25, and denies any such use or statement.” Objections

at 10.18 There are no indications that cocaine use had anything to do with Christy’s conduct or that

he has any current cocaine problem. Thus, this fact has no impact on the Court’s ultimate sentence

for Christy. See Fed. R. Crim. P. 32(i)(3)(B) (stating that, as opposed to having to “rule on the

dispute” regarding a fact in a presentence investigation report, a court can “determine that a ruling

is unnecessary either because the matter will not affect sentencing, or because the court will not

consider the matter in sentencing”).

        W.        THE COURT WILL OVERRULE CHRISTY’S OBJECTIONS TO
                  PARAGRAPHS 116 THROUGH 118.

        Christy “objects to any suggestion that he has the ability to pay a fine in any amount,

contained in paragraphs 116 and 117.” Objections at 10-11. Christy “objects to any suggestion,

contained in paragraph 118, that he has any ability whatever to pay the costs of his incarceration or

prosecution.” Objections at 11.19 In these paragraphs, the USPO recites some facts regarding the

costs of Christy’s incarceration and states that the Court must consider these matters under U.S.S.G.

§ 5E1.2(d) and 18 U.S.C. § 2572(a)(6). The USPO also communicates some information about the

applicable fines for Christy’s offenses under the relevant statutes and guidelines. The USPO does

no more than relay factual information to the Court, and point out the relevant statutes and

guidelines for the Court to consider. The USPO makes no recommendation in these paragraphs

about Christy’s ability to pay for the costs of his incarceration, his prosecution, or a fine. To invoke

a district court’s rule 32 fact-finding obligation, a defendant is required to make “specific

allegations” of factual inaccuracy.       United States v. Rodriguez-Delma, 456 F.3d at 1253.


        18
             Christy did not pursue this objection at the sentencing hearing on May 23, 2012.
        19
             Christy did not pursue these objections at the sentencing hearing on May 23, 2012.

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Defendants have “an affirmative duty to make a showing that the information in the PSR was

unreliable and articulate the reasons why the facts contained therein [were] untrue or inaccurate.”

United States v. Rodriguez-Delma, 456 F.3d at 1253. Thus, the Court will overrule Christy’s

objections.

II.    THE COURT WILL APPLY A 2-LEVEL ENHANCEMENT UNDER U.S.S.G.
       § 2G1.3(b)(2).

       Christy

       objects to the application of the 2 level increase in the sentencing level contained in
       paragraph 51 of the PSR (Undue Influence), and would respectfully show the Court
       that, while the young lady (Jane Doe) was, indeed, much younger than Mr. Christy,
       her previous admitted behavior of seeking out older men online by misrepresenting
       her age was the controlling factor in her own behavior, and the rebuttable
       presumption of undue influence does not apply to this case.

Objections at 9. At the sentencing hearing on May 23, 2012, Christy argued that a 2-level

enhancement under U.S.S.G. § 2G1.3(b)(2)(B) for undue influence was inappropriate, but conceded

that a rebuttable presumption exists that the enhancement is appropriate in light of the age difference

between Doe and himself. See Tr. at 13:3-13 (Court, McMillian). Christy stated that he did not

intend to pursue rebutting that presumption and that the Court could overrule his objection to this

2-level enhancement. See Tr. at 13:10-21 (McMillian, Court).

       U.S.S.G. § 2G1.3(b)(2) provides: “If (A) the offense involved the knowing misrepresentation

of a participant’s identity to persuade, induce, entice, coerce, or facilitate the travel of, a minor to

engage in prohibited sexual conduct; or (B) a participant otherwise unduly influenced a minor to

engage in prohibited sexual conduct, increase by 2 levels.” U.S.S.G. § 2G1.3(b)(2). Application

note 3(B) to this guideline provides in relevant part:

              In determining whether subsection (b)(2)(B) applies, the court should closely
       consider the facts of the case to determine whether a participant’s influence over the
       minor compromised the voluntariness of the minor’s behavior. The voluntariness

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       of the minor’s behavior may be compromised without prohibited sexual conduct
       occurring.

       ....

               In a case in which a participant is at least 10 years older than the minor, there
       shall be a rebuttable presumption that subsection (b)(2)(B) applies. In such a case,
       some degree of undue influence can be presumed because of the substantial
       difference in age between the participant and the minor.

U.S.S.G. § 2G1.3 cmt n. 3(B). In light of the ten-year difference between Christy and Doe, with

Christy being in his late fifties at the time of the offense and Doe being sixteen, the presumption

discussed in application note 3(b) to this guideline applies. Christy has offered no evidence to rebut

this presumption. Thus, a 2-level enhancement under U.S.S.G. § 2G1.3(b)(2)(B) is appropriate, and

the Court will overrule Christy’s objection to this enhancement.

III.   THE COURT WILL APPLY A 2-LEVEL ENHANCEMENT UNDER U.S.S.G.
       § 2G1.3(b)(4).

       Christy “objects to the two level increase in paragraph 53 pursuant to Section 2G1.3(b)(4),

as the sexual conduct engaged in by Mr. Christy at his home in Albuquerque, New Mexico was not

prohibited sexual conduct under New Mexico law, and no other sexual conduct has been proven

beyond a reasonable doubt.” Objections at 9-10. At the sentencing hearing on May 23, 2012,

Christy asserted that, in spite of his guilty plea, the United States still cannot show a pattern of

conduct for purposes of a 2-level enhancement under U.S.S.G. § 2G1.3(b)(4). See Tr. at 17:14-17

(McMillian). The Court and the United States noted that this enhancement does not require a pattern

of conduct, but only a sex act or sexual contact. See Tr. at 17:22-18:3 (Court, Rees). The Court then

overruled Christy’s objection to the 2-level enhancement under U.S.S.G. § 2G1.3(b)(4). See Tr. at

18:6-18 (Court, McMillian).

       U.S.S.G. § 2G1.3(b)(4) provides: “If (A) the offense involved the commission of a sex act


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or sexual contact; or (B) subsection (a)(3) or (a)(4) applies and the offense involved a commercial

sex act, increase by 2 levels.” U.S.S.G. § 2G1.3(b)(4). Application note 1 to this guideline

provides: “‘Sexual act’ has the meaning given that term in 18 U.S.C. § 2246(2).” U.S.S.G. § 2G1.3

cmt. n.1. 18 U.S.C. § 2246(2) provides:

       [T]he term “sexual act” means --

               (A)     contact between the penis and the vulva or the penis and the anus,
                       and for purposes of this subparagraph contact involving the penis
                       occurs upon penetration, however, slight;

               (B)     contact between the mouth and the penis, the mouth and the vulva, or
                       the mouth and the anus;

               (C)     the penetration, however slight, of the anal or genital opening of
                       another by a hand or finger or by any object, with an intent to abuse,
                       humiliate, harass, degrade, or arouse or gratify the sexual desire of
                       any person; or

               (D)     the intentional touching, not through the clothing, of the genitalia of
                       another person who has not attained the age of 16 years with an intent
                       to abuse, humiliate, harass, degrade, or arouse or gratify the sexual
                       desire of any person . . . .

18 U.S.C. § 2246(2).

       In his Plea Agreement, Christy stipulates that, “[d]uring the course of” his travels with Doe,

he “had sexual intercourse with Jane Doe at a motel in Needles, California and my Albuquerque,

New Mexico residence.” Plea Agreement ¶ 10, at 6-7. 18 U.S.C. § 2246(2)(A) defines a sexual act

as “contact between the penis and the vulva or the penis and the anus, and for purposes of this

subparagraph contact involving the penis occurs upon penetration, however, slight.” 8 U.S.C.

§ 2246(2)(A). Christy’s own admission that he had sexual intercourse with Doe provides sufficient

evidence to support the application of a 2-level enhancement under U.S.S.G. § 2G1.3(b)(4). Thus,

the Court will overrule his objection to this 2-level enhancement.


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IV.    THE COURT WILL NOT APPLY A 4-LEVEL ENHANCEMENT UNDER U.S.S.G.
       § 2G2.2(b)(4).

       Both the United States and Christy argue that a 4-level enhancement under U.S.S.G.

§ 2G2.2(b)(4) is not appropriate. The United States asserts that a 4-level enhancement under

U.S.S.G. § 2G2.2(b)(4) is not appropriate, because, “[t]ypically, courts in this district have imposed

this enhancement if the [child pornography] images depict bound children” and because Christy “did

not possess any images depicting bondage or excessive torture of children.” USA Sentencing

Memorandum at 6. Christy

       objects to the four level increase in paragraph 61 pursuant to Section 2G2.2(b)(4)
       because the PSR writer simply presumes from the subject matter of the alleged
       image that pain and humiliation is inflicted on the child made the subject matter of
       the image referred to. The image is not inherently sadistic or violent, though it
       certainly may be found to be disgusting, and so the four level increase in sentencing
       level should not apply.

Objections at 10.

       The Court acknowledges that, particularly in the context of prepubescent children depicted

in child pornography, courts have not imposed significant hurdles to the application of a 4-level

enhancement under U.S.S.G. § 2G2.2(b)(4). The Tenth Circuit has held that the existence of images

that “depict anal or vaginal penetration of prepubescent children by adults” is normally sufficient

to support a 4-level enhancement under this provision. United States v. Kimler, 335 F.3d at 1143

(emphasis in original). As support for its conclusion, the Tenth Circuit quoted a portion of the

district court’s opinion and “agree[d] with those findings and conclusions by the [district court]”:

       The court concludes that the some [sic] of the images submitted by the Government
       are sufficient to qualify for this enhancement, particularly those showing adults
       engaging in vaginal or anal intercourse with prepubescent minors. The court
       concludes that one or more such depictions in this case portrays “sadistic conduct”
       within the meaning of the guideline, in that the depictions include and are intended
       to portray the infliction of pain and humiliation on very young minor victims as a
       means of giving sexual gratification to individuals with pedophilic tendencies.

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United States v. Kimler, 335 F.3d at 1143.

        Nevertheless, the Court believes the situation presented in this case is distinguishable. The

Court acknowledges that oral-genital penetration could, in some circumstances, qualify for a 4-level

enhancement under U.S.S.G. § 2G2.2(b)(4), because one could certainly conceive of a depiction that

was physically painful to the child in the depiction or humiliating such that the depiction is sadistic.

Unlike vaginal and anal penetration of prepubescent children, however, the Court has difficultly

concluding that oral-genital penetration justifies, as a matter of law, a 4-level enhancement under

this guideline. The Court has reviewed the photograph in question which the USPO asserts justifies

a 4-level enhancement under U.S.S.G. § 2G2.2(b)(4).20 While the Court has no reason to question

that the girl depicted in the photograph is prepubescent, she does not appear to be in any physical

or emotional pain. Additionally, other than the sexual act itself of there being male genitalia in her

mouth, there appears to be nothing humiliating about the photograph. While the Court is not in any

way saying that the little girl is actually enjoying the sex, the picture is such that it is meant to

suggest she is enjoying the activity. Furthermore, the expression on her face does not support a

finding that the photograph is sadistic or masochistic. The photograph is a disgusting one which the

Court has the obligation to review itself to assess whether this enhancement applies. Having viewed

the photograph, the Court does not believe that the depiction is one “intended to portray the

infliction of pain and humiliation on very young minor victims as a means of giving sexual

gratification to individuals with pedophilic tendencies.” United States v. Kimler, 335 F.3d at 1143.



        20
         It is often unnecessary for courts to view such photographs in preparation for a sentencing,
as the parties often do not dispute how those photographs impact the defendant’s sentence. Here,
however, both parties have objected to the application of a 4-level enhancement under U.S.S.G.
§ 2G2.2(b)(4) based on this photograph, so it was necessary for the Court to view the photograph
to resolve that dispute.

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If the Court were to hold otherwise, virtually all child pornography would support a 4-level

enhancement. Thus, while the Court believes that a 4-level enhancement could in some cases be

appropriate in the context of oral-genital penetration, the Court does not believe that this photograph

warrants a 4-level enhancement. The Court agrees with the United States and with Christy, and not

with the USPO, and will not apply a 4-level enhancement under U.S.S.G. § 2G2.2(b)(4).

        The United States has presented an unpersuasive bright-line test for the application of a 4-

level enhancement under this guideline. The United States asserts that a 4-level enhancement under

U.S.S.G. § 2G2.2(b)(4) is not appropriate, because, “[t]ypically, courts in this district have imposed

this enhancement if the [child pornography] images depict bound children” and because Christy “did

not possess any images depicting bondage or excessive torture of children.” USA Sentencing

Memorandum at 6. That test is both overinclusive and underinclusive. The test is overinclusive in

that it is possible that a child could be bound yet not be in any physical or emotional pain. The

photograph would still be pornographic, but not necessarily sadistic or masochistic. Furthermore,

the test is underinclusive, because there could be many scenarios where a child is in obvious

physical or emotional pain without any bondage occurring. More importantly, the United States’

proposed standard, for which it cites no authority, is not consistent with Tenth Circuit precedent,

which has not focused on bondage. See United States v. Kimler, 335 F.3d at 1143 (holding that the

existence of images that “depict anal or vaginal penetration of prepubescent children by adults” is

normally sufficient to support a 4-level enhancement under U.S.S.G. § 2G2.2(b)(4) (emphasis in

original)).

V.      THE COURT WILL APPLY A 5-LEVEL ENHANCEMENT UNDER U.S.S.G.
        § 2G2.2(b)(5).

        Christy “objects to the five level increase in sentencing level contained in paragraph 62, to


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the extent that it punishes behavior that was not against the law in the State of New Mexico.”

Objections at 10. At the sentencing hearing on May 23, 2012, Christy argued that a 5-level

enhancement was not appropriate under U.S.S.G. § 2G2.2(b)(5), given that his sexual acts in New

Mexico were lawful. See Tr. at 19:2-8 (Court, McMillian). The United States argued that there is

a large amount of evidence indicating that Christy has engaged in a pattern of sexual exploitation

of minors, including all the child pornography found in his possession and the individuals with

whom he chatted online. See Tr. at 20:13-21:22 (Rees). Christy asserted that none of the

individuals with whom he chatted have been identified, including whether they are adults or minors,

but conceded that the chat conversations have been presented to the Court. See Tr. at 21:24-22:8

(McMillian). Christy noted that no one has proved that he engaged in any sexual acts with children

in his neighborhood. See Tr. at 22:9-13 (McMillian). The Court noted that the application note to

U.S.S.G. § 2G2.2(b)(5) indicates that it has a low threshold for a pattern of activity, requiring only

two or more separate instances of sexual abuse or sexual exploitation of a minor. See Tr. at 22:14-

22 (Court). The Court noted that there was sufficient evidence to find that this enhancement applied

by a preponderance of the evidence in light of Christy admitting to two sexual acts with Doe on

separate occasions, and the Court overruled Christy’s objection. See Tr. at 22:14-23:8 (Court).

       U.S.S.G. § 2G2.2(b)(5) provides: “If the defendant engaged in a pattern of activity involving

the sexual abuse or exploitation of a minor, increase by 5 levels.” U.S.S.G. § 2G2.2(b)(5).

Application note 1 to this guideline provides several disjunctive definitions for a minor for purposes

of this guideline, including “(A) an individual who has not attained the age of 18 years.” U.S.S.G.

§ 2G2.2 cmt. n.1.21 Application note 1 to this guideline provides:


       21
            Other definitions for minor under this guideline include:


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              “Pattern of activity involving the sexual abuse or exploitation of a minor”
       means any combination of two or more separate instances of the sexual abuse or
       sexual exploitation of a minor by the defendant, whether or not the abuse or
       exploitation (A) occurred during the course of the offense; (B) involved the same
       minor; or (c) resulted in a conviction for such conduct.

U.S.S.G. § 2G2.2 cmt. n.1. This application note also provides:

               “Sexual abuse or exploitation” means any of the following: (A) conduct
       described in 18 U.S.C. § 2241, § 2242, § 2243, § 2251(a)-(c), 2251(d)(1)(B), §
       2251A, § 2260(b), § 2421, § 2422, or § 2423; (B) an offense under state law, that
       would have been an offense under any such section if the offense had occurred
       within the special maritime or territorial jurisdiction of the United States; or (c) an
       attempt or conspiracy to commit any of the offenses under subdivisions (A) or (B).
       “Sexual abuse or exploitation” does not include possession, accessing with intent to
       view, receipt, or trafficking in material relating to the sexual abuse or exploitation
       of a minor.

U.S.S.G. § 2G2.2 cmt. n.1.

       Christy has pled guilty to Count 1 of the information, specifically violating 18 U.S.C.

§ 2423(a). The Information charges Christy, in Count 1, with the following:

               From on or about October 1, 2009 to on or about November 9, 2009, in
       Bernalillo County and elsewhere, in the District of New Mexico, the defendant
       EDWARD CHRISTY, knowingly persuaded, induced, enticed, and coerced Jane
       Doe to travel in interstate and foreign commerce to engage in any sexual activity for
       which the defendant could be charged with a criminal offense, that being Criminal
       Sexual Penetration in the Second Degree, in violation of N.M. Stat. Ann. § 30-9-
       11(E)(5), Contributing to the Delinquency of a Minor, in violation of N.M. Stat.
       Ann. § 30-6-3, and Unlawful Custodial Interference, in violation of N.M. Stat. Ann.
       § 30-4-4(c).

              In violation of 18 U.S.C. § 2422(a).



       (B) an individual, whether fictitious or not, who a law enforcement officer
       represented to a participant (i) had not attained the age of 18 years, and (ii) could be
       provided for the purposes of engaging in sexually explicit conduct; or (c) an
       undercover law enforcement officer who represented to a participant that the officer
       had not attained the age of 18 years.

U.S.S.G. § 2G2.2 cmt. n.1.

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Information at 1. He conceded at the sentencing hearing that he knew, as of November 6, 2009 --

before he engaged in intercourse with Doe -- that she was sixteen. See Tr. at 7:20-8:2 (McMillian).

Furthermore, he stipulated in his Plea Agreement: “Between October 1, 2009 and November 9,

2009, I knowingly persuaded, induced, and enticed Jane Doe to travel in interstate commerce to

engage in any sexual activity for which I could be charged.” Plea Agreement ¶ 10, at 6. He

stipulates that he “engaged in sexual conversations with Jane Doe, a person I knew to be 16 years

of age.” Plea Agreement ¶ 10, at 6. He stipulates that he had sexual intercourse with Doe on two

separate occasions: “During the course of this travel, I had sexual intercourse with Jane Doe at a

motel in Needles, California and my Albuquerque, New Mexico residence.” Plea Agreement ¶ 10,

at 7.

        Furthermore, he has admitted to those sexual encounters constituting criminal conduct. In

his Plea Agreement, he pled guilty to Count 1, charging him with a violation of 18 U.S.C. § 2422(a).

The Information related that Christy had engaged in conduct that would violate several New Mexico

statutes, including N.M.S.A. 1978, §§ 30-6-3 and 30-9-11(E)(5).         N.M.S.A. 1978, § 30-6-3

provides:

                Contributing to the delinquency of a minor consists of any person committing
        any act or omitting the performance of any duty, which act or omission causes or
        tends to cause or encourage the delinquency of any person under the age of eighteen
        years.

                Whoever commits contributing to the delinquency of a minor is guilty of a
        fourth degree felony.

N.M.S.A. 1978, § 30-6-3. N.M.S.A. 1978, § 30-9-11(E)(5) provides: “Criminal sexual penetration

in the second degree consists of all criminal sexual penetration perpetrated . . . in the commission

of another felony.” N.M.S.A. 1978, § 30-9-11(E)(5). N.M.S.A. 1978, § 30-6-3 is a felony offense

for which Christy admitted to conduct that would violate the statute. See N.M.S.A. 1978, § 30-6-3.

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Even if the age of consent in New Mexico is sixteen, Christy has still pled guilty to conduct that

would violate these other statutes; he can violate these statutes given that Doe was sixteen at the

time at which he engaged in intercourse with her.

       In light of his two sexual encounters with Doe, a 5-level enhancement under U.S.S.G.

§ 2G2.2(b)(5) is appropriate. U.S.S.G. § 2G2.2(b)(5). Application note 1 to this guideline provides:

              “Pattern of activity involving the sexual abuse or exploitation of a minor”
       means any combination of two or more separate instances of the sexual abuse or
       sexual exploitation of a minor by the defendant, whether or not the abuse or
       exploitation (A) occurred during the course of the offense; (B) involved the same
       minor; or (c) resulted in a conviction for such conduct.

U.S.S.G. § 2G2.2 cmt. n.1. Given his plea of guilty to Count 1, charging him with a violation of 18

U.S.C. § 2423(a), and the two occasions he had intercourse with Doe, there is sufficient evidence

to support a 5-level enhancement under U.S.S.G. § 2G2.2(b)(5).

VI.    THE COURT WILL ACCEPT THE PARTIES’ STIPULATION REGARDING
       RESTITUTION.

       In the context of children depicted in child pornography, various circuit courts of appeals

have recognized severe proximate-causation concerns in requiring defendants in child pornography

cases to pay restitution to the individuals depicted in the images. The Court has not located a Tenth

Circuit decision addressing this issue. The United States Court of Appeals for the Second Circuit

in United States v. Aumais, 656 F.3d 147 (2d Cir. 2011), provides a thorough recapitulation of the

authority on this issue. In that case, the district court had ordered the defendant to pay $48,483.00

in restitution to an individual under a pseudonym -- Amy -- who was depicted in some of the

pornographic material in the defendant’s possession. See United States v. Aumais, 656 F.3d at 150.

One witness testified during the restitution hearing, a doctor who had evaluated Amy at her

attorney’s request. See United States v. Aumais, 656 F.3d at 150. The doctor provided information


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about the history of Amy’s sexual abuse and other trauma related to her experiences appearing in

child pornography. See United States v. Aumais, 656 F.3d at 150. The doctor testified that

“[k]nowledge that [Amy’s] images were still being viewed caused emotional and psychological

problems” for her. United States v. Aumais, 656 F.3d at 150. The Second Circuit agreed that Amy

was a victim within the meaning of 18 U.S.C. § 2259(c) based on the trauma she had suffered. See

United States v. Aumais, 656 F.3d at 152.

       The Second Circuit then acknowledged that “[a] circuit split has opened as to whether the

Government must show that a victim’s losses” under 18 U.S.C. § 2259 “were proximately caused

by the defendant’s actions, or whether it is enough to show causation more generally.” United States

v. Aumais, 656 F.3d at 152. It also stated that, “within those circuits holding that a showing of

proximate cause is required, some rely on the text of the statute and others on general rules of

criminal and tort law.” United States v. Aumais, 656 F.3d at 152. It recognized that the United

States Court of Appeals for the Third, Ninth, and Eleventh Circuits have “read the last phrase of

§ 2259(b)(3)(F) -- ‘suffered by the victim as a proximate result of the offense’ -- to apply to all the

types of loss in § 2259(b)(3).” United States v. Aumais, 656 F.3d at 152-53 (citation omitted)(citing

United States v. McDaniel, 631 F.3d 1204, 1209 (11th Cir. 2011); United States v. Laney, 189 F.3d

954, 965 (9th Cir. 1999); United States v. Crandon, 173 F.3d 122, 125 (3d Cir. 1999)). The Second

Circuit also related that the United States Court of Appeals for the District of Columbia has imposed

a proximate-cause requirement on damages under this statute by relying upon “traditional principles

of tort and criminal law and on § 2259(c)’s definition of victim as an individual harmed as a result

of the defendant’s offense.” United States v. Aumais, 656 F.3d at 153 (quoting United States v.

Monzel, 641 F.3d 528, 535 (D.C. Cir. 2011))(internal quotation marks omitted). The Second Circuit

noted that the D.C. Circuit further relied on the “bedrock rule of both tort and criminal law that a

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defendant is only liable for harms he proximately caused” to reach the conclusion that “nothing in

the text or structure of § 2259 [suggests] that Congress intended to negate the ordinary requirement

of proximate cause.” United States v. Aumais, 656 F.3d at 153 (quoting United States v. Monzel,

641 F.3d 535-36).

       The Second Circuit stated that “[t]he only circuit to hold that a finding of proximate cause

is not required, the Fifth Circuit, read the phrase ‘as a proximate result of the offense’ in

§ 2259(b)(3)(F) to apply on to that ‘catchall’ provision, as opposed to all of the loss provisions set

forth in § 2259(b)(3).” United States v. Aumais, 656 F.3d at 153 (quoting In re Amy Unknown, 636

F.3d 190, 198 (5th Cir. 2011), reh’g granted en banc sub nom. In re Unknown, 668 F.3d 776 (5th

Cir. 2012)). The Second Circuit then “agree[d] with the majority of circuits and h[e]ld that under

§ 2259, a victim’s losses must be proximately caused by the defendant’s offense.” 656 F.3d at 152.

More specifically, the Second Circuit followed the D.C. Circuit, concluding that “proximate cause

is a deeply rooted principle in both tort and criminal law that Congress did not abrogate when it

drafted § 2259.” 656 F.3d at 153. For this conclusion, the Second Circuit relied in part on a case

from the Supreme Court of the United States, which held:

       “[M]ere omission . . . of intent [in the statute] will not be construed as eliminating
       that element from the crimes denounced”; instead Congress will be presumed to have
       legislated against the background of our traditional legal concepts which render
       intent a critical factor, and “absence of contrary direction [will] be taken as
       satisfaction with widely accepted definitions, not as a departure from them.”

United States v. U.S. Gypsum Co., 438 U.S. 422, 437 (1978)(alterations in original). The Second

Circuit also stated:

               “Proximate cause” labels “generically the judicial tools used to limit a
       person’s responsibility for the consequences of that person’s own acts. At bottom,
       the notion of proximate cause reflects ‘ideas of what justice demands, or of what is
       administratively possible and convenient.’” Proximate cause demands “some direct
       relation between the injury asserted and the injurious conduct alleged.”

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United States v. Aumais, 656 F.3d at 153 (citation omitted)(quoting Holmes v. Sec. Investor Prot.

Corp., 503 U.S. 258, 268 (1992)).

       Turning to the facts of the case, the Second Circuit noted that the magistrate judge based his

finding of proximate cause on statements taken from Amy’s victim impact statement and the

doctor’s testimony. See United States v. Aumais, 656 F.3d at 154. The magistrate judge had found

that the defendant’s “viewing of Amy’s images ‘leaves Amy and similar victims with feelings that

they will never be safe, of helplessness, and of constant fear that they will be recognized from those

images by friends and strangers.’” 656 F.3d at 154. The magistrate judge also concluded that,

“even though there may be hundreds or thousands of others who,” like the defendant, “have

possessed and used Amy’s images and thereby contributed to her harm, [the defendant’s] conduct

remains a substantial cause of that harm,” because it “exacerbates the harm by confirming how

expansive has become the number of individuals exploiting Amy’s images.” 656 F.3d at 154. In

rejecting the magistrate judge’s conclusion that Amy’s harm was the proximate cause of the

defendant’s conduct, the Second Circuit focused on the magistrate judge’s finding that “Amy had

no direct contact with [the defendant] nor even knew of his existence.” 656 F.3d at 154. It also

noted that Amy’s victim impact statement made no mention of the defendant and that the doctor’s

examination of Amy took place before the defendant was arrested for his crime. See 656 F.3d at

154. The Second Circuit then quoted from a Ninth Circuit opinion that also rejected Amy’s claims:

       [T]he government’s evidence showed only that [the defendant] participated in the
       audience of persons who viewed the images of Amy. . . . While this may be
       sufficient to establish that [the defendant’s] actions were one cause of the
       generalized harm Amy . . . suffered due to the circulation of [her] images on the
       internet, it is not sufficient to show that they were a proximate cause of any
       particular losses.

656 F.3d at 154-55 (alterations in original)(quoting United States v. Kennedy, 643 F.3d 1251, 1264


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(9th Cir. 2011)). While the Second Circuit did “not categorically foreclose payment of restitution

to victims of child pornography from a defendant who possesses their pornographic images,” it

reversed the lower court’s conclusion that the defendant’s conduct was a proximate cause of Amy’s

harm. 656 F.3d at 155.

       As further support for its conclusion, the Second Circuit noted the “baffling and intractable

issue that this case would otherwise present in terms of damages and joint and several liability.” 656

F.3d at 155. It stressed that there were “disparate amounts of restitution ordered throughout the

country” for Amy, who “had sought restitution in over 250 cases around the country,” and that

individuals in Amy’s position could potential received “double-recovery” even though there was

a common-law prohibition against double recovery. 656 F.3d at 155-56. The Second Circuit noted

that “the collection of a restitution award would need to be carefully monitored to ensure that total

payments by all defendants did not exceed what Amy has been awarded,” and explained that “[t]he

need for such monitoring would pose significant practical difficulties.” 656 F.3d at 156. It also

stated that 18 U.S.C. § 3664(h), which 18 U.S.C. § 2259(b)(2) cross-references, “implies that joint

and several liability may be imposed only when a single district judge is dealing with multiple

defendants in a single case (or indictment),” which led the Second Circuit to the conclusion that “the

law does not contemplate the apportionment of liability among defendants in different cases, before

different judges, in different jurisdictions around the country.” 656 F.3d at 156.

       A.      THE COURT WILL ADOPT THE APPROACH THE FIFTH CIRCUIT
               FOLLOWS AND NOT REQUIRE PROXIMATE CAUSATION FOR
               DAMAGES UNDER 18 U.S.C. § 2259.

       The Court believes that the Fifth Circuit has correctly interpreted and applied 18 U.S.C.

§ 2259. As the Supreme Court has recognized: “Statutory construction must begin with the

language employed by [the writer] and the assumption that the ordinary meaning of that language

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accurately expresses the legislative purpose.” Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S.

189, 194 (1985). In determining the meaning of a statute, courts look to the statute as a whole. See

United States v. Atl. Research Corp., 551 U.S. 128, 135 (2007). When a statute includes particular

language in one section of a statute, but omits it in another section of the same act, courts generally

presume that the drafter of the statute acted intentionally and purposefully in the including the

language in one provision and omitting it from another. See Burlington N. & Santa Fe. Ry. Co. v.

White, 548 U.S. 53, 62-63 (2006).

       The Court concludes that, by including the phrase “proximate result” in 18 U.S.C.

§ 2259(b)(3)(F), Congress did not impose a proximate cause limitation on the other categories of

damages listed in 18 U.S.C. § 2259(b)(3). 18 U.S.C. § 2259(b)(3) provides:

       For purposes of this subsection, the term “full amount of the victim’s losses”
       includes any costs incurred by the victim for --

               (A)     medical services relating to physical, psychiatric, or psychological
                       care;

               (B)     physical and occupational therapy or rehabilitation;

               (C)     necessary transportation, temporary housing, and child care expenses;

               (D)     lost income;

               (E)     attorneys’ fees, as well as other costs incurred; and

               (F)     any other losses suffered by the victim as a proximate result of the
                       offense.

18 U.S.C. § 2259(b)(3)(A)-(F). Courts generally interpret qualifying terms in a statute as applying

only to the nearest antecedents. See Jama v. Immigration & Customs Enforcement, 543 U.S. 335,

342-43 (2005)(stating the “the grammatical rule of the last antecedent, according to which a limiting

clause or phrase . . . should ordinarily be read as modifying only the noun or phrase that it


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immediately follows” (internal quotation marks omitted)). The phrase “proximate result” appears

only in subsection (F), the final subsection in this portion of the statute, and not any of the other

subsections. 18 U.S.C. § 2259(b)(3)(A)-(F). The Supreme Court has generally not been receptive

to construing statutes in the manner the Third, Ninth, and Eleventh Circuits have suggested is

proper, in other words having a qualifying term apply to terms in a statute other than its nearest

antecedents:

                Petitioner seizes upon the word “another” in clause (vii) as a means of
       importing the acceptance requirement into clauses (i) through (vi). He argues that
       if the last resort country is “another country whose government will accept the
       alien,” then the countries enumerated in clauses (i) through (vi) must also be
       “countries whose governments will accept the alien.” That stretches the modifier too
       far. Just last Term, we rejected an argument much like petitioner’s, noting that it ran
       contrary to “the grammatical ‘rule of the last antecedent,’ according to which a
       limiting clause or phrase . . . should ordinarily be read as modifying only the noun
       or phrase that it immediately follows.” Barnhart v. Thomas, 540 U.S. 20,
       26 . . . (2003). There, a statute referred first to a claimant’s “previous work” and
       then to “any other kind of substantial gainful work which exists in the national
       economy”; under the rule of the last antecedent, we declined to read the limiting
       clause “which exists in the national economy” into the term “previous work.” Id.,
       at 26-28 . . . (emphasis deleted; internal quotation marks omitted); accord, FTC v.
       Mandel Brothers, Inc., 359 U.S. 385, 389-390 . . . (1959). We thus did not treat “any
       other” as the “apparently connecting modifier” that the dissent here thinks “another”
       to be, post, at 708.

Jama v. Immigration & Customs Enforcement, 543 U.S. at 342-43.22


       22
            The relevant portion of the statute at issue in that case provided:

       (E)        Additional removal countries. -- If an alien is not removed to a country under
                  the previous subparagraphs of this paragraph, the Attorney General shall
                  remove the alien to any of the following countries:

                  (i)     The country from which the alien was admitted to the United States.

                  (ii)    The country in which is located the foreign port from which the alien
                          left for the United States or for a foreign territory contiguous to the
                          United States.


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       Ultimately, it is not the federal court system’s job to redraft statutes for Congress. “Statutory

construction must begin with the language employed by [the writer] and the assumption that the

ordinary meaning of that language accurately expresses the legislative purpose.” Park ‘N Fly, Inc.

v. Dollar Park & Fly, Inc., 469 U.S. at 194. As the Fifth Circuit has related, Congress has omitted

the qualifying term proximate from the other subsections in this statute:

                The structure and language of § 2259(b)(3) impose a proximate causation
       requirement only on miscellaneous “other losses” for which a victim seeks
       restitution. As a general proposition, it makes sense that Congress would impose an
       additional restriction on the catchall category of “other losses” that does not apply
       to the defined categories. By construction, Congress knew the kinds of expenses
       necessary for restitution under subsections A through E; equally definitionally, it
       could not anticipate what victims would propose under the open-ended subsection
       F.

               Comparing the language of § 2259 with other restitution statutes affirms the
       conclusion that proximate causation applies only to the catchall category of harms.
       Under the VWPA, a victim is “a person directly and proximately harmed as a result
       of the commission of an offense . . . .” 18 U.S.C. § 3663A(a)(2) (emphasis added).
       In contrast, § 2259, enacted 14 years later as part of the MVRA, defines a victim as
       “the individual harmed as a result of a commission of a crime . . . .” 18 U.S.C.
       § 2259(c) (emphasis added). Comparing these statutes reveals that Congress


               (iii)   A country in which the alien resided before the alien entered the
                       country from which the alien entered the United States.

               (iv)    The country in which the alien was born.

               (v)     The country that had sovereignty over the alien’s birthplace when the
                       alien was born.

               (vi)    The country in which the alien’s birthplace is located when the alien
                       is ordered removed.

               (vii)   If impracticable, inadvisable, or impossible to remove the alien to
                       each country described in a previous clause of this subparagraph,
                       another country whose government will accept the alien into that
                       country.

Jama v. Immigration & Customs Enforcement, 543 U.S. at 340.

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        abandoned the proximate causation language that would have reached all categories
        of harm via the definition of a victim. This change is consistent with the reasons for
        enacting a second generation of restitution statutes. See, e.g., Unites States v.
        Ekanem, 383 F.3d 40, 44 (2d Cir. 2004)(noting “the intent and purpose of the
        MVRA to expand, rather than limit, the restitution remedy.”), United States v. Perry,
        360 F.3d 519, 524 (6th Cir. 2004)(“The new law unquestionably reflects a
        dramatically more ‘pro-victim’ congressional attitude . . . .”). The evolution in
        victims’ rights statutes demonstrates Congress’s choice to abandon a global
        requirement of proximate causation.

In re Amy Unknown, 636 F.3d at 198-99 (alterations in original)(footnote omitted). When a statute

includes particular language in one section of a statute, but omits it in another section of the same

act, courts generally presume that the drafter of the statute acted intentionally and purposefully in

the including the language in one provision and omitting it from another. See Burlington N. & Santa

Fe. Ry. Co. v. White, 548 U.S. at 62-63. Looking at the statute as a whole, the language Congress

adopted leads to the conclusion that Congress did not intend to impose a proximate-cause limitation

on the first five subsections of 18 U.S.C. § 2259(b)(3). See United States v. Atl. Research Corp.,

551 U.S. at 135. If Congress intended a different result, it has the authority to amend the statute.

        B.      THERE IS NO CAUSATION BETWEEN VICKY’S DAMAGES AND
                CHRISTY’S CONDUCT.

        There is no evidence that Vicky ever knew of Christy’s existence or that he had any

interactions with her. While the Re-Disclosed PSR does not contain Vicky’s victim impact

statement, the United States has provided what it asserts is Vicky’s victim impact statement, which

relates that she has to live

        everyday with the horrible knowledge that someone somewhere is watching the most
        terrifying moments of my life and taking grotesque pleasure in them. I am the victim
        of the worst kind of exploitation: child porn. Unlike other forms of exploitation, this
        one is never ending. Everyday people are trading and sharing videos of me as a little
        girl being raped in the most sadistic ways. They don’t know me, but they have seen
        every part of me. They are being entertained by my shame and pain.

USA Sentencing Memorandum at 16. There is no date attached to this statement, so Vicky very

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well may have drafted it before Christy viewed any images of her. While causation is a less

stringent standard than proximate causation, there is no evidence proving by a preponderance of the

evidence that Christy was a cause-in-fact of her damages. There is no other evidence before the

Court establishing any kind of connection between Vicky and Christy besides Christy having viewed

some images in which she appears. While the Court acknowledges that Vicky appears to have

suffered significant harm from her appearances in child pornography, there is no information

establishing by a preponderance of the evidence that Christy was an actual cause of her damages.

While it is possible Christy may have caused her damages, the Court has no evidence to that effect.

Vicky has not drafted a separate impact statement that relates how Christy harmed her, and the one

the United States has drafted may be several years old in light of the large number of cases in which

Vicky has sought restitution. She has made no other attempt to become involved in these

proceedings to prove causation.

       Furthermore, there are severe evidentiary problems regarding Vicky’s damages. The only

information the Court has regarding her damages are estimates of her economic losses. Neither she,

nor anyone acting on her behalf came to Christy’s sentencing or submitted any documentation with

the Court to prove up her damages. Her estimate of her total damages, $1,224,697.04, appears to

be one an attorney created. More importantly, the United States has conceded that it is not prepared

to put forward any evidence, other than Christy’s stipulation, regarding Vicky’s damages. See Tr.

at 38:20-39:7 (Rees). Without further proof regarding her damages, there is not sufficient evidence

for the Court to conclude, by a preponderance of the evidence, that these are her damages which

Christy caused. Furthermore, the risks of double recovery the Second Circuit discussed are present

here, given that there appears to be no precise mechanism to monitor how much Vicky has

recovered in restitution -- restitutionary damages which it is not clear to the Court she has ever had

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to prove in federal court. See United States v. Aumais, 656 F.3d at 155-56 (“Our holding in Nucci

indicates that because Amy may already have been fully compensated by others for the loss found

in this case, there would be ‘no legal basis to permit an award that allows a victim to recover more

than his due.’”). The USPO could not even contact Vicky’s attorney for more information. In light

of the lack of evidentiary support for her damages, it would be unwise for the Court to require

Christy to pay Vicky her claimed amount of restitution.

       While the Court does not interpret 18 U.S.C. § 2259(b)(3) as imposing a proximate cause

limitation on the first five subsection of that statute, the statute does not dispense with but-for

causation. See CSX Transp., Inc. v. McBride, 131 S.Ct. 2630, 2641 & n.9 (2011)(“In our view, the

causal link in these cases is hardly farfetched; in fact, in both, the lower courts observed that the

evidence did not show mere ‘but for’ causation.”); In re Amy Unknown, 636 F.3d at 201 (“Given

the statute’s built-in causation requirement and the volume of causation evidence in the context of

child pornography, fears over excessive punishment are misplaced.”). But-for causation requires

a showing of direct harm, or in this context of damages a showing that the damages were a direct

result of the defendant’s conduct. See United States v. Speakman, 594 F.3d 1165, 1171 (10th Cir.

2010)(requiring, to show but-for causation, that a person “was directly harmed”). Here, the Court

cannot with any confidence say that, but for Christy’s viewing images of Vicky, Vicky would not

have suffered any part of the damages she asserts she has suffered. Accordingly, the Court cannot,

on the limited record before it, say that Christy’s conduct directly resulted in Vicky’s damages.

       C.      BY STIPULATING TO AN AWARD OF $500.00 RESTITUTION, CHRISTY
               HAS RELIEVED THE UNITED STATES OF ANY EVIDENTIARY BURDEN
               TO PROVE RESTITUTION FOR THAT AMOUNT.

       Generally, a court is permitted to award restitution damages when the defendant has

stipulated to pay someone a given amount, because the defendant has conceded that issue. See

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United States v. Taylor, 41 F.App’x 380, 383 (10th Cir. 2002)(unpublished)(“Given Taylor’s

concession in her stipulation that $41,398 would be an appropriate figure for restitution, the court

did not abuse its discretion in ordering that she repay the bank this full amount of its loss.”). When

a defendant stipulates that he will pay a certain amount of restitution, the United States has no

further evidentiary obligation to prove that restitution is appropriate. See United States v. Jackson,

459 F.App’x 747, 753 (10th Cir. 2012)(unpublished). As the Tenth Circuit has stated:

       “Generally, this court is reluctant to relieve parties from the benefits or detriments
       of their stipulations.” In this case, Ms. Jackson’s stipulation concerning the loss
       amount waives any challenge contrary to the stipulation. . . . Finally, by stipulating
       to this loss amount on the day of the sentencing hearing, Ms. Jackson cannot now
       challenge those figures by claiming the government failed to provide evidence in
       support thereof at that hearing. Instead, her stipulation to the loss figures released
       the government from any obligation to set forth such evidence at the sentencing
       hearing.

United States v. Jackson, 459 F.App’x at 753. Cf. United States v. Rainbird, No. 09-2964, 2011 WL

6827854, at *1 (D.N.M. Dec. 19, 2011)(Browning, J.)(“Because the parties have stipulated to an

amount of $94,500.00 in restitution, the Court will accept the stipulation and order Rainbird to pay

this amount in restitution pursuant to the stipulation.”). Thus, in light of Christy’s stipulation that

he will pay Vicky $500.00, the United States has satisfied its burden to prove that amount of

restitution. Accordingly, the Court will order that Christy pay $500.00 in restitution to Vicky.

VII.   THE SENTENCING FACTORS IN 18 U.S.C. § 3553(a) JUSTIFY A 108-MONTH
       TERM OF IMPRISONMENT AND A LIFETIME TERM OF SUPERVISED
       RELEASE.23


       23
          In light of the large number of objections Christy has raised to the factual statements
contained in the Re-Disclosed PSR, the Court has gone through them with extra precaution to ensure
that it has disregarded factual matters that it said would not impact its determination when arriving
at Christy’s sentence. It has also not considered factual matters that it said it would not consider
when arriving at Christy’s sentence. Ultimately, many of those factual matters Christy found
objectionable are peripheral details and would have little discernable impact on a sentence a court
would reach for Christy. Here, they have, as promised, no impact.

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       The Re-Disclosed PSR calculates an adjusted offense level of 30 for Count 1. See Re-

Disclosed PSR ¶ 57, at 18. The Re-Disclosed PSR calculates an adjusted offense level of 36 for

Count 2. See Re-Disclosed PSR ¶ 68, at 20. After making an adjustment for the multiple counts

under U.S.S.G. § 3D1.4, the USPO calculates a combined adjusted offense level of 37. See Re-

Disclosed PSR ¶¶ 69-75, at 20. The Re-Disclosed PSR includes a 3-level reduction under U.S.S.G.

§ 3E1.1 based on Christy’s acceptance of responsibility. See PSR ¶ 76, at 20. The Re-Disclosed

PSR calculates a total offense level of 34. See Re-Disclosed PSR ¶ 77, at 20. The Re-Disclosed

PSR lists his criminal history category as I, based on 0 criminal history points. See Re-Disclosed

PSR ¶ 80, at 21. The Re-Disclosed PSR calculates that an offense level of 34 and a criminal history

category of I results in a guideline imprisonment range of 151 to 188 months. See Re-Disclosed

PSR ¶ 107, at 27.

       The Court has sustained the parties’ objection to the Re-Disclosed PSR’s application of a 4-

level enhancement under U.S.S.G. § 2G2.2(b)(4). After sustaining the 4-level objection, Christy’s

offense level for Count 2 is 32. After accounting for multiple counts under U.S.S.G. § 3D1.4,

Christy’s adjusted offense level is 34. See U.S.S.G. § 3D1.4. After applying a 3-level reduction for

acceptance of responsibility, Christy’s total offense level is 31. An offense level of 31 and a

criminal history category of I yields a guideline imprisonment range of 108 to 135 months. Other

than on the issue of this objection to the 4-level enhancement under U.S.S.G. § 2G2.2(b)(4) and the

resulting recalculation, the Court adopts the Re-Disclosed PSR’s guideline calculation as its own.

       Regarding supervised release, the USPO relates that 18 U.S.C. § 3583(k) permits a term of

supervised release of “not less than 5 years to life.” Re-Disclosed PSR ¶ 109, at 27. The USPO

relates that U.S.S.G. § 5D1.1(b) prescribes a term of supervised release of “not less than 5 years to

life.” Re-Disclosed PSR ¶ 110, at 27. Regarding sex offenses, a policy statement set out in U.S.S.G.

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§ 5D1.2(b) recommends that courts impose “the statutory maximum term of supervised release.”

U.S.S.G. § 5D1.2(b) (“(Policy Statement) If the instant offense of conviction is a sex offense,

however, the statutory maximum term of supervised release is recommended.”). The application

notes to U.S.S.G. § 5D1.2 define a sex offense as:

       (A) an offense, perpetrated against a minor, under (i) chapter 109A of title 18, United
       States Code; (ii) chapter 109B of such title; (iii) chapter 110 of such title, not
       including a recordkeeping offense; (iv) chapter 117 of such title, not including
       transmitting information about a minor or filing a factual statement about an alien
       individual; (v) an offense under 18 U.S.C. 1201; or (vi) an offense under 18 U.S.C.
       1591; or (B) an attempt or a conspiracy to commit any offense described in
       subdivisions (A)(i) through (vi) of this note.

U.S.S.G. § 5D1.2 cmt. n.1. Christy has pled guilty to Counts 1 and 2 in the Information, charging

him in Count 1 with a violation of 18 U.S.C. § 2422(a), that being coercion and enticement, and in

Count 2 with a violation of 18 U.S.C. §§ 2252(a)(4)(b), 2252(b)(2), and 2256, that being possession

of matter containing visual depictions of minors engaged in sexually explicit conduct. See Plea

Agreement ¶ 3, at 2. 18 U.S.C. § 2422(a) falls within Chapter 117 of Title 18, see 18 U.S.C. chap.

117, thus making the offense a sex offense within the meaning of U.S.S.G. § 5D1.1(b), see U.S.S.G.

§ 5D1.2 cmt. n.1. 18 U.S.C. §§ 2252 and 2256 both fall within Chapter 110 of Title 18, see 18

U.S.C. chap. 110, thus making the offense to which Christy pled guilty a sex offense under U.S.S.G.

§ 5D1.1(b), see U.S.S.G. § 5D1.2 cmt. n.1. Thus, the guidelines recommend a lifetime term of

supervised release. In a congressional report generated along with a bill seeking to raise the

statutorily permitted term of supervised release for certain sex offenses to a lifetime term, a report

from the United States House of Representatives stated the following:

               Studies have shown that sex offenders are four times more likely than other
       violent criminals to recommit their crimes. Moreover, the recidivism rates do not
       appreciably decline as offenders age. According to the United States Department of
       Justice’s Bureau of Justice Statistics, since 1980, the number of prisoners sentenced
       for violent sexual assault other than rape increased by an annual average of nearly

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       15 percent -- faster than any other category of violent crime.

               Another factor that makes these numbers disturbing is that many serious sex
       crimes are never even reported to authorities. National data and criminal justice
       experts indicate that sex offenders are apprehended for a fraction of the crimes they
       actually commit. By some estimates, only one in every three to five serious sex
       offenses are reported to authorities and only 3 percent of such crimes ever result in
       the apprehension of an offender.

               While any criminal’s subsequent re-offending is of public concern,
       preventing sexual offenders from re-offending is particularly important, given the
       irrefutable and irreparable harm that these offenses cause victims and the fear they
       generate in the community. Sexual assault is a terrifying crime which leaves its
       victims with physical, emotional, and psychological scars and affects everyone
       around them.

               This legislation will give Judges the discretion necessary to impose a term
       of supervised release that is appropriate for each defendant. Authorities will be able
       to monitor those sex offenders that pose the greatest threat to our society for as long
       as the court feels they are a danger. It is important to note that there are no
       mandatory requirements contained in this bill. If a Judge decides that supervision
       is not necessary, then there is no requirement to impose any term of supervised
       release.

H.R. Rep. No. 107-527, at 2-3, 5 (2002).

       The Court has carefully considered the parties’ arguments and the circumstances of this case.

The Court has conducted two full evidentiary hearings in this case, one for a detention hearing, see

Clerk’s Minutes at 1, filed June 15, 2010 (Doc. 24), and one for a suppression hearing, see Clerk’s

Minutes at 1, filed April 21, 2011 (Doc. 159), and a shorter evidentiary hearing on whether taking

Jane Doe’s deposition was appropriate, see Sealed Clerk’s Minutes at 1, filed September 8, 2011

(Doc. 184). Consequently, the Court has a great deal of familiarity with Christy’s case. The Court

has considered the guideline range for the applicable category of offense committed by the

applicable category of defendant. The Court believes that the punishment that the guidelines set

forth is appropriate for Christy’s offenses, including a lifetime term of supervised release. The

Court agrees with the parties that a sentence of 108 months is sufficient to reflect the seriousness

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of the offenses. The Court concludes that a lifetime term of supervised release is appropriate for

Christy’s offenses. Thus, the Court imposes a term of 108-months imprisonment for Counts 1 and

2, and a lifetime term of supervised release for Counts 1 and 2. These sentences will run

concurrently. This sentence adequately reflects the seriousness of the offenses, promotes respect

for the law, provides just punishment, affords adequate deterrence, protects the public, avoids

unwarranted sentencing disparities among similarly situated defendants, and otherwise fully reflects

each of the factors embodied in 18 U.S.C. § 3553(a).

          A.       A GUIDELINE SENTENCE REFLECTS SERIOUSNESS OF THE
                   OFFENSES.

          Christy’s conduct is horrible and justifiably deserves a lengthy term of imprisonment and

supervised release. First, Christy enticed and coerced a fragile and vulnerable sixteen year old to

run away from her house, travel to an unfamiliar location, and engage in sexual relations with him,

a relative stranger, who was approximately forty years older than her. His conduct, however, causes

the Court somewhat less concern given that Doe was of consensual age in New Mexico. If Christy

had enticed a child younger than sixteen, the offense would be a more serious one. Nevertheless,

the event will still likely haunt Doe for a good portion of her life.

          Second, Christy exploited numerous children through his possession of child image and

videos.        Child pornography is a serious crime, because, among other things, it promotes

victimization of children, both when the child is forced to participate in production of sexually

explicit images and each time an individual interested in child pornography views it. See New York

v. Ferber, 458 U.S. 747, 758 (1982)(“The legislative judgment, as well as the judgment found in the

relevant literature, is that the use of children as subjects of pornographic materials is harmful to the

physiological, emotional, and mental health of the child.”). Viewers, like Christy, contribute to the


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ongoing cycle of abuse and are in part responsible for the psychological and physical abuse of the

child used to produce the images. See United States v. Julian, 242 F.3d 1245, 1247 (10th Cir.

2001)(“Pornography poses an even greater threat to the child victim than does sexual abuse of

prostitution. Because the child’s actions are reduced to a recording, the pornography may haunt him

in future years.”). The child pornography industry was founded upon the premise that individuals,

like Christy, desire and will seek out such contraband. See United States v. Norris, 159 F.3d 926,

930 (5th Cir. 2006). As the Fifth Circuit has stated:

               Third, the consumer of child pornography instigates the original production
       of child pornography by providing an economic motive for creating and distributing
       the materials. As Congress put it in explicit factual findings:

               [T]he existence of and traffic in child pornographic images . . .

               . . . . inflames the desires of child molesters, pedophiles, and child
               pornographers, thereby increasing the creation and distribution of
               child pornography and the sexual abuse and exploitation of actual
               children who are victimized as a result of the existence and use of
               these materials[.]

       Plainly, Congress has described a chicken-and-egg scenario in which it would be
       impossible to determine whether child pornographers or consumers of child
       pornography were initially responsible for the creation of the child pornography
       industry. The underlying point, however, is that there is no sense in distinguishing,
       as Norris has done, between the producers and the consumers of child pornography.
       Neither could exist without the other. The consumers of child pornography therefore
       victimize the children depicted in child pornography by enabling and supporting the
       continued production of child pornography, which entails continuous direct abuse
       and victimization of child subjects.

              Any of these effects, stemming directly from a consumer’s receipt of or
       willingness to receive child pornography, would amply justify the conclusion that a
       child depicted in the pornographic images was a “victim” of that crime. We
       therefore disagree with Norris’s suggestion the nature of the offense he committed
       requires that his counts of receiving child pornography be grouped as a matter of
       law. We reject the suggestion that the commentary’s references to victimless crimes
       and “indirect or secondary victims” compels the conclusion that the crimes of a
       “passive” child pornography recipient must be grouped because the resulting harm
       is somehow attenuated as compared to a person who actually produces or distributes

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       child pornography. As we have explained, the victimization of a child depicted in
       pornographic materials flows just as directly from the crime of knowingly receiving
       child pornography as it does from the arguably more culpable offenses of producing
       or distributing child pornography.


United States v. Norris, 159 F.3d at 930 (alterations in original)(citations omitted). Accord United

States v. Turner, 616 F.3d 566, 574 (11th Cir. 2010)(agreeing that “receiving possessing child

pornography helps create market for more pornography, encouraging the victimization of more

children”). Some men tend to think of viewing child pornography as victimless. It is not. The

victims who write letters to the Court are people and victims. Regardless of the inclination of some

to see possession of child pornography as one of criminal justice system’s lesser evils, it is not. See

United States v. Jager, No. 10-1531, 2011 WL 831279, at *15 (D.N.M. Feb. 17, 2011)(Browning,

J.)(“[S]ociety, and men in particular, must learn that child pornography is not a victimless crime,

and that possessing these images and reviewing these images creates demand -- it fuels this cruel

industry.”). No young child should be subjected, in a just society, to the treatment that child

pornography depicts. See United States v. Jager, 2011 WL 831279, at *15 (“These victims are an

age where they effectively do not have a choice in these matters, and society must protect these

minors and must protect them strongly.”).

       B.      A 108-MONTH SENTENCE PROMOTES RESPECT FOR THE LAW,
               PROVIDES ADEQUATE DETERRENCE, AND AVOIDS UNWARRANTED
               SENTENCING DISPARITIES.

       The best method to promote respect for the law and to afford deterrence, both to Christy and

future defendants in his shoes, is, as much as possible, uniformity in sentencing. Additionally,

uniform sentences avoid unwarranted sentencing disparities among similarly situated defendants.

Promoting respect for the law and adequate deterrence call for severe sentences for child-

exploitation offenses. The sentence of 108-months incarceration and a lifetime term of supervised

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release affords adequate deterrence for Christy’s criminal conduct. A sentence at 108-months

imprisonment is within the guideline range, thus providing some level of uniformity among

similarly situated defendants. Given that this is Christy’s first conviction, putting aside for a

moment the allegations about other sexual misconduct, this sentence is a significant one that will

promote respect for the law and that will deter both Christy, and the public at large, from committing

similar offenses.

       While U.S.S.G. § 5D1.1(b) prescribes a term of supervised release of not less than five-years

supervised release to life imprisonment, it is worth noting that a policy statement set out in U.S.S.G.

§ 5D1.2(b) recommends that courts impose “the statutory maximum term of supervised release” for

sex offenses. U.S.S.G. § 5D1.2(b) (“(Policy Statement) If the instant offense of conviction is a sex

offense, however, the statutory maximum term of supervised release is recommended.”). If Christy

was a younger defendant, the Court might be more inclined to impose a term of supervised release

for a shorter term than the rest of Christy’s life. Given that he will not leave prison until he is

approximately sixty-five, however, a lifetime term of supervised release is not substantially different

than a ten-year term of supervised release.24 Christy might not even live to complete a ten-year term

of supervised release. Moreover, given what the Court stated in its June 28, 2010 MOO, the Court

is concerned that Christy has molested more young people than just Doe. As the Court has

previously stated: “By his admission, Christy has engaged in multiple acts of hands-on victimization

of children.” June 28, 2010 MOO at 13-14. As the Court stated in its June 28, 2010 MOO, Christy

is a risk to the community. While recidivism usually decreases as defendants age, Christy is 59



       24
           The Actuarial Life Table, which the United States Social Security Administration publishes
puts life expectancy for a 65-year-old male at an additional 17.19 years. See U.S. Soc. Sec. Admin.,
Actuarial Life Table, http://www.ssa.gov/oact/STATS/table4c6.html (last visited July 18, 2012).

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years old, and does not appear to be any less interested in young children in spite of his age. The

Court agrees with Dr. Petzold that older defendants often have a lower risk of recidivism. See, e.g.,

United States v. Chapman, No. 11-0904, 2012 WL 2574814, at *17 (D.N.M. June 22,

2012)(Browning, J.)(“She will be approaching sixty when she completes her sentence, and her risk

of recidivism will decrease as a result of her age upon release.”). Nevertheless, the Court does not

apply that general principle without considering the individual defendant. See, e.g., United States

v. Hernandez-Flores, No. 02-1020, 2012 WL 119609, at *5 (D.N.M. Jan. 3, 2012)(Browning,

J.)(“While Hernandez-Flores has a lower risk of recidivism because of her age and health, she has

a lengthy criminal history and committed five offenses, not including the current offense, when she

was over fifty-years old. That is atypical among defendants that come before the Court.”). The

Court draws no comfort that Christy will be safer when released from prison in light of his

significant criminal conduct at a relatively old age. The Court does not see a sound basis to vary

from the guidelines’ recommendation of a term of lifetime supervised release.

       C.      CHRISTY’S HISTORY AND CHARACTERISTICS, THE NEED FOR JUST
               PUNISHMENT, AND THE NEED TO PROTECT THE PUBLIC SUPPORT
               THE SENTENCE.

       The Court agrees with Dr. Petzold that Christy, looking at his upbringing and history in

isolation, would not be a person one would expect to commit criminal activity. He has a stable work

history, served time in the military, and has few notable problems in his childhood that would

suggest he would engage in aberrant sexual behavior. On paper, putting aside Christy’s sexual

misconduct, Christy appears to be an upstanding citizen. He may have some impulsive qualities,

but his profile would not suggest that he would engage in criminal activity.

       Some aspect of Christy’s life that is difficult to quantify, however, has led Christy into

serious sexually aberrant behavior. The crimes to which Christy has pled guilty are troubling

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enough and suggest that he has developed a longstanding interest in sex with children. If the Court

had lingering doubts about other sexual misconduct in which Christy had engaged, an absence of

evidence about prior sexual misconduct might counsel in favor of a lower sentence. Those are not

the circumstances here. The level of Christy’s interest in sex with children, as expressed by his

obsessive behavior in chatting with minors online and his abhorrent manipulation of children who

are near him, is deep-seated to a troubling degree. The USPO provides examples of “only the most

egregious” of the chats, including the following:

               In July 2009, Mr. Christy discussed sexual matters with a 12 year old, stating
       he was “not far away by plane.” During the same conversation, Mr. Christy admitted
       he had a “neighborhood girl” as his “playmate,” claiming her grandfather didn’t
       know. Mr. Christy further admitted he liked younger than 12 and would go “9 to 10
       year olds.” In a chat from July 23, 2009, the Defendant discussed being “lovers”
       with his wife and daughter, if he had one. In this same chat, Mr. Christy discusses
       with someone that if he lived with her and her child, he (Mr. Christy) would [be] able
       to teach her baby, specifically stating “you have a fresh daughter.” In another, dated
       on August 23, 2009, Mr. Christy stated “I’d always thought when my daughter first
       fed from her mother that I would masturbate and put cum on her nipple so I could
       nourish my girl too.” He further states “I’d want us all to sleep in one bed with no
       barriers. Daddy’s cock should be pacifying to his kids. They should feel safe and
       secure and loved sucking him fall to sleep with his cock in their mouth.”
       Additionally, in a chat from August 24, 2009, the Defendant admitted he is “drawn
       to open sex in his own family,” and added that children who have sexual
       relationships in their own families are “more balanced than most.” Mr. Christy also
       acknowledged that “even though he is more drawn to girls, his sons would know him
       sexually too.” In a chat dated August 26, 2009, Mr. Christy admitted to performing
       sex on a 12 year old neighborhood boy within the last three months, and a 14 year
       old girl a few years ago.

Re-Disclosed PSR ¶ 34, at 13-14. “Investigators noted Mr. Christy’s chat logs revealed he dedicated

a lot of his time in internet chat looking for other adolescent girls in which to cultivate a sexual

relationship.” Re-Disclosed PSR ¶ 35, at 14. As the Court has already noted, there are voluminous

amounts of other chatroom conversations that span back several years. See June 28, 2010 MOO at

5-7 (“The voluminous chat transcripts the forensic examiner recovered include sexual conversations


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between Christy and other, including some identifying themselves as minors.”).

       Furthermore, the Court has already had evidence about Christy engaging in sexual

misconduct with children who live near him, including grooming them to desensitize them to his

sexual advances:

                In a chat dated August 26, 2009, Christy admitted to having sexual relations
       with a twelve-year old boy within the last few months and with a fourteen-year old
       girl “a few years ago.” United States’ Exhibit 8. The United States represents that
       it has interviewed the boy, believed to be the one of whom Christy spoke, but the boy
       did not disclose. The boy described, however, how he would go on overnight scuba-
       diving trips with Christy, how Christy provided him movies to watch and gave him
       gifts, and how Christy provided him with wireless internet access. Proctor testified
       that behavior, like that which the boy described, is consistent with grooming
       behavior. Also in the chat dated August 26, 2009, Christy stated: “There is a 12 year
       old girl down the street who has a bit of a crush on me. [S]o I’m letting that just
       move at its own pace.”

                In the course of their investigation, Bernalillo County Sheriff’s deputies
       arranged a safe-house interview of a nine-year old girl who formally [sic] was a
       neighbor of Christy’s and with whom Christy had contact. This child described that,
       a few years ago, Christy touched her vaginal area through her clothing when she was
       at Christy’s residence sitting in front of his computer. The child’s fourteen-year old
       sister and fourteen-year old cousin were also safe-house interviewed, and, according
       to Proctor, described conduct by Christy that was consistent with grooming behavior.
       Specifically, Christy would regularly invite them over to swim in his hot tub, and
       take them on outings to the Hinkle Family Fun Center or to the McDonalds
       playground. They stated that Christy would kiss them on the lips, that he would pick
       them up in such a way that he would place his hands on their breasts, and that he
       would allow their legs to straddle him while he touched their buttocks.

June 28, 2010 MOO at 6-8 (footnote omitted)(citations omitted). These facts cause the Court great

concern that Christy will recidivate and harm other children, either by chatting with them online to

arrange a public meeting, harming children in the neighborhood, or accessing child pornography

once again.

       The Court agrees with Dr. Petzold that older defendants often have a lower risk of

recidivism. See, e.g., United States v. Chapman, 2012 WL 2574814, at *17 (“She will be


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approaching sixty when she completes her sentence, and her risk of recidivism will decrease as a

result of her age upon release.”). Nevertheless, the Court does not apply that general principle

without considering the individual defendant. See, e.g., United States v. Hernandez-Flores, 2012

WL 119609, at *5 (“While Hernandez-Flores has a lower risk of recidivism because of her age and

health, she has a lengthy criminal history and committed five offenses, not including the current

offense, when she was over fifty-years old. That is atypical among defendants that come before the

Court.”). In many ways, Christy’s criminal history category is misleading. As the Court has already

stated: “While the Court recognizes that Christy has no criminal history, the seized evidence

indicates that Christy has a history of enticing children, and has no criminal history only because

he has avoided being caught.” June 28, 2010 MOO at 13-14. Furthermore, as a congressional report

has found, there is generally a weaker link, compared to other defendants, between the age of sex

offenders and the drop in their recidivism rates:

               Studies have shown that sex offenders are four times more likely than other
       violent criminals to recommit their crimes. Moreover, the recidivism rates do not
       appreciably decline as offenders age. According to the United States Department of
       Justice’s Bureau of Justice Statistics, since 1980, the number of prisoners sentenced
       for violent sexual assault other than rape increased by an annual average of nearly
       15 percent -- faster than any other category of violent crime.

H.R. Rep. No. 107-527, supra, at 2.

       Dr. Petzold acknowledges that sexual crimes often go unreported. A congressional report

has made similar findings:

               Another factor that makes these numbers disturbing is that many serious sex
       crimes are never even reported to authorities. National data and criminal justice
       experts indicate that sex offenders are apprehended for a fraction of the crimes they
       actually commit. By some estimates, only one in every three to five serious sex
       offenses are reported to authorities and only 3 percent of such crimes ever result in
       the apprehension of an offender.

               While any criminal’s subsequent re-offending is of public concern,

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        preventing sexual offenders from re-offending is particularly important, given the
        irrefutable and irreparable harm that these offenses cause victims and the fear they
        generate in the community. Sexual assault is a terrifying crime which leaves its
        victims with physical, emotional, and psychological scars and affects everyone
        around them.

H.R. Rep. No. 107-527, supra, at 2. The problem of under-reporting increases when the victim is

a vulnerable one, such as a child or an elderly person, over which the perpetrator may be able to

exercise additional influence. The Court has a volume of evidence before it regarding Christy’s

sexual misconduct, and the significant amount of evidence troubles the Court that there may be

more, perhaps far more, victims out there. Furthermore, because of the technology involved, and

the relative anonymity afforded to internet users, uncovering computer-related child exploitation

offenses is a difficult task for law enforcement. Christy’s criminal activity, including child

pornography-related conduct and hands-on sexual contact with children, lasted years before police

detection. Erring on the side of leniency, in light of the evidence before the Court, would create too

great of a risk to the public. A sentence of 108-months imprisonment and lifetime supervised

release is a more just punishment. While it is impossible to know whether Christy will commit

crimes in the future, one thing is certain: during his nine-year term of incarceration, Christy will not

return to his long-standing interest in children and child pornography. A lifetime term of supervised

release will also ensure that Christy receives as much treatment as possible to avoid relapsing into

his old ways.

        While the Court’s task, as a district court, is not to arrive at a reasonable sentence -- it is to

come up with one that reflects the factors in 18 U.S.C. § 3553(a), see United States v. Conlan, 500

F.3d 1167, 1169 (10th Cir. 2007)(“[A] district court’s job is not to impose a reasonable sentence.

Rather, a district court’s mandate is to impose a sentence sufficient, but not greater than necessary,

to comply with the purposes of section 3553(a)(2).” (citation omitted)) -- the Court believes this

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sentence is reasonable. And perhaps most important in this calculation, the Court believes that this

sentence is sufficient without being greater than necessary to comply with the purposes of

punishment Congress set forth in the Sentencing Reform Act of 1984, Pub. L. No. 98-473, 98 Stat.

1987 (codified as amended in scattered sections of 18 U.S.C.). The Court sentences Christy, as to

Counts 1 and 2, to 108-months imprisonment and a lifetime term of supervised release. These

sentences will run concurrently.

       IT IS ORDERED that the objections regarding the application of a 4-level enhancement

under U.S.S.G. § 2G2.2(b)(4) to Defendant Edward Christy’s offense level contained in the United

States’ Sentencing Memorandum and Recommendation, filed January 20, 2012 (Doc. 200), and in

the Defendant’s Objections to Presentence Report, filed March 15, 2012 (Doc. 203-1), are sustained.

The Court will grant Plaintiff United States of America’s requests for a sentence of 108-months

imprisonment and lifetime supervised release. The Court will overrule the remaining objections in

the Christy’s Objections. The Court will grant Christy’s request for a sentence of 108-months

imprisonment, but will deny his request for a 5-year term of supervised release. The Court sentences

Christy, as to Counts 1 and 2, to 108-months imprisonment and a lifetime term of supervised release.

These sentences will run concurrently.


                                                             _______________________________
                                                             UNITED STATES DISTRICT JUDGE




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